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September 10, 2020


Peter Goplerud, President                       Sent by email to: pgoplerud@fcsl.edu
Florida Coastal School of Law
8787 Baypine Road
Jacksonville, FL 32256-8528


RE:     Final Program Review Determination
        OPE ID: 03374300
        PRCN: 2019-4-11-30066

Dear Peter Goplerud:

The U.S. Department of Education’s (Department’s) Office of Federal Student Aid issued a
program review report on September 11, 2019 covering Florida Coastal School of Law’s (FCSL)
administration of programs authorized by Title IV of the Higher Education Act of 1965, as
amended, 20 U.S.C. §§ 1070 et seq. (Title IV, HEA programs), for the 2017-2018 and 2018-
2019 award years. FCSL’s first response was received on November 12, 2019. FCSL’s final
response was received on November 19, 2019. A copy of the program review report (and related
attachments) and FCSL’s response are attached. Any supporting documentation submitted with
the response is being retained by the Department and is available for inspection by FCSL upon
request. Additionally, this Final Program Review Determination (FPRD), related attachments,
and any supporting documentation may be subject to release under the Freedom of Information
Act (FOIA) and can be provided to other oversight entities after this FPRD is issued.

Purpose:

Final determinations have been made concerning all of the outstanding findings of the program
review report. The purpose of this letter is to: (1) identify liabilities resulting from the findings of
this program review report, (2) provide instructions for payment of liabilities to the Department,
(3) notify the institution of its right to appeal, (4) close the review, and (5) notify FCSL that due
to the serious nature of one or more of the enclosed findings, this FPRD is being referred to the
Department’s Administrative Actions and Appeals Service Group (AAASG) for its consideration
of possible adverse action. Such action may include a fine, or the limitation, suspension or
termination of the eligibility of the institution. Such action may also include the revocation of
the institution’s program participation agreement (if provisional), or, if the institution has an
application pending for renewal of its certification, denial of that application. If AAASG
initiates any action, a separate notification will be provided which will include information on
institutional appeal rights and procedures to file an appeal.

This FPRD contains one or more findings regarding FCSL’s failure to comply with the
requirements of the Jeanne Clery Disclosure of Campus Security Policy and Campus Crime
Statistics Act (the Clery Act) in Section 485(f) of the HEA, 20 U.S.C. § 1092(f), and the


                        School Participation Division – Multi-Regional & Foreign SchoolsFCSL   - 000100
                                                 StudentAid.gov
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Department’s regulations in 34 C.F.R. §§ 668.41 and 668.46. Since a Clery Act finding does not
result in a financial liability, such a finding may not be appealed. However, as noted above, this
FPRD is being referred to AAASG for possible adverse administrative action. If an adverse
administrative action is initiated, additional information regarding FCSL’s appeal rights with
regard to such an action will be included as part of AAASG’s notice.

This FPRD or FAD contains one or more findings regarding FCSL’s failure to comply with the
requirements of the Drug-Free Schools and Communities Act Amendments of 1989 as reflected
in Section 120 of the HEA, 20 U.S.C. § 1011(i), and the Department’s regulations in 34 C.F.R.
Part 86. Since such a finding does not result in a financial liability it may not be appealed at this
time. However, as noted above, this FPRD is being referred to AAASG for possible adverse
administrative action. If an adverse administrative action is initiated, additional information
regarding FCSL’s appeal rights with regard to such an action will be included as part of
AAASG’s notice.

The total liabilities due from the institution from this program review are $16,999.89.

This final program review determination contains detailed information about the liability
determination for all findings.

Protection of Personally Identifiable Information (PII):

PII is any information about an individual which can be used to distinguish or trace an
individual's identity (some examples are name, social security number, date and place of birth).
The loss of PII can result in substantial harm, embarrassment, and inconvenience to individuals
and may lead to identity theft or other fraudulent use of the information. To protect PII, the
findings in the attached report do not contain any student PII. Instead, each finding references
students only by a student number created by Federal Student Aid. The student numbers were
assigned in Appendix A, Student Sample. All appendices were encrypted and sent separately to
the institution via e-mail.

Appeal Procedures:

If FCSL elects to appeal to the Secretary of Education for a review of the financial liabilities
established by this FPRD, the institution must file a written request for a hearing. Please note
that institutions may appeal financial liabilities only. The Department must receive FCSL’s
request no later than 45 calendar days from the date FCSL receives this FPRD. The
Department requests that FCSL submit an original and four copies of its complete request
for review. The request must be sent to:

       Attn: Susan Crim, Director
       Administrative Actions and Appeals Service Group
       U.S. Department of Education
       Federal Student Aid/Partner Enforcement and Consumer Protection
       830 First Street, NE UCP3, Room 84F2
       Washington, DC 20002-8019


                                                                                 FCSL - 000101
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FCSL’s appeal request must:

       (1) indicate the findings, issues, and facts being disputed;
       (2) state the institution’s position, together with pertinent facts and reasons supporting its
       position; and
       (3) include a copy of the FPRD received by the school.

When it submits its request for appeal, the institution may also include documentation it believes
the Department should consider in support of the appeal. Please note that any additional
documentation submitted with the institution’s appeal request, other than items 1-3 above,
will only be used by the Administrative Actions and Appeals Service Group (AAASG) to
determine whether the appealed liabilities can be resolved or reduced prior to the
transmittal of the appeal to the Department’s Office of Hearings and Appeals (OHA). As a
result, please submit no more than three copies of any additional documentation, other than
itmes 1-3 above, that the institution would like to have informally considered. The additional
documentation, not part of items 1-3 above, provided with the institution’s appeal request will
NOT be delivered to OHA as part of the appeal request. Instead, the parties will submit filings to
OHA (including any supporting documentation) in accordance with the Hearing Official’s orders
after the matter has been assigned to the official, as described below.

If any appeal documents include personally identifiable information (PII), the PII must be
redacted, except for the student’s name and last four digits of his/her social security number
(please see the enclosed document, “Protection of Personally Identifiable Information,” for
instructions on how to mail records containing PII).

If the institution’s appeal is timely, and there remains unresolved liabilities after review by
AAASG, the request for appeal will be transmitted to the Department’s Office of Hearings and
Appeals (OHA), for an administrative hearing in accordance with § 487(b)(2) of the HEA, 20
U.S.C. § 1094(b)(2). The Hearing Official assigned to the case will issue an order scheduling the
submission of briefs and supporting evidence in accordance with 34 C.F.R. § 668.114(c). The
institution may therefore submit additional documentation supporting its appeal request at that
time. Further, if the institution is appealing a projected liability amount, it may provide detailed
liability information from a complete file review, either at the time it initially submits it appeal
request or pursuant to the proceedings at OHA. The procedures followed with respect to FCSL’s
appeal are those provided at 34 C.F.R. Part 668, Subpart H. Interest on the appealed liabilities
shall continue to accrue at the applicable value of funds rate, as established by the United States
Department of Treasury, or if the liabilities are for refunds, at the interest rate set forth in the
loan promissory note(s).

Record Retention:

Program records relating to the period covered by the program review must be retained until the
later of: resolution of the loans, claims or expenditures questioned in the program review; or the
end of the retention period otherwise applicable to the record under 34 C.F.R. §§ 668.24(e)(1),
(e)(2), and (e)(3).



                                                                                 FCSL - 000102
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The Department expresses its appreciation for the courtesy and cooperation extended during the
review. If the institution has any questions regarding this letter, please contact Butch Smith at
214-661-9514 or via email at butch.smith@ed.gov. Questions relating to any appeal of the
FPRD should be directed to the address noted in the Appeal Procedures section of this letter.


Sincerely,



Michael Frola
Division Director

Enclosure:
Protection of Personally Identifiable Information
Program Review Report (and appendices)
Final Program Review Determination Report (and appendices)

cc:                       , Financial Aid Administrator
                    , FL Commission for Independent Education - Florida Department of
       Education
                         American Bar Association
       Department of Defense
       Department of Veterans Affairs
       Consumer Financial Protection Bureau




                                                                              FCSL - 000103
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Prepared for
Florida Coastal School of Law

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PRCN: 2019-4-11-30066

U.S. Department of Education
Federal Student Aid
Multi-Regional and Foreign Schools Participation Division




         Final Program Review Determination
                              September 10, 2020




                      830 First Street, N.E. UCP-III. 7th Floor
                             Washington, D.C. 20202
                                  StudentAid.gov

                                                                  FCSL - 000104
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                                  Finding 4……………………………………………
                    Appendix G: Cost of Funds – Florida Coastal School of Law –
                                  Finding 7……………………………………………




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       A. Institutional Information

       Florida Coastal School of Law
       8787 Baypine Road
       Jacksonville, FL 32256-8528

       Type: Proprietary

       Highest Level of Offering: Juris Doctor

       Accrediting Agency: American Bar Association

       Current Student Enrollment: 383 (Fall 2017)

       Title IV Participation (National Student Loan Data System):

                                             AWARD YEAR              AWARD YEAR
        TITLE IV, HEA PROGRAM
                                                2017-2018               2016-2017
       Federal Direct Unsubsidized Loan        $6,547,565.00          $12,699,698.00
       Federal Direct PLUS Loan                $9,607,198.00          $19,392,719.00
       Federal Work Study                       $31,053.00              $85,552.00
                                   Total      $16,185,816.00          $32,177,969.00

       Default Rate FFEL/DL:         2014   1.7%
                                     2015   2.5%
                                     2016   1.4%




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       B. Scope of Review

       The U.S. Department of Education (the Department) Office of Federal Student Aid
       conducted a program review at Florida Coastal School of Law (FCSL) from August 12,
       2019 to August 16, 2019.

       The focus of the review was to determine FCSL’s compliance with the statutes and
       regulations as they pertain to the institution's administration of the Federal student aid
       programs under Title IV of the Higher Education Act of 1965, as amended, U.S.C. §§
       1070 et seq. (Title IV programs). The review consisted of, but was not limited to, an
       examination of FCSL’s policies and procedures regarding institutional and student
       eligibility, individual student financial aid and academic files, attendance records, student
       account ledgers, and fiscal records.

       The Department identified a sample of 33 files for review from the 2017-2018 and 2018-
       2019 (year to date) award years. The Department randomly selected the files from a
       statistical sample of the total population receiving Title IV, HEA program funds for each
       award year. Appendix A lists the names and social security numbers of the students
       whose files were examined during the program review.

       The Department issued its Program Review Report (PRR) on September 11, 2019
       (Appendix B). FCSL submitted its first written response to the PRR on November 12,
       2019, included in Appendix C-1. FCSL provided an additional response on November
       19, 2019, included in Appendix C-2. In both of responses, November 12, 2019 and
       November 19, 2019, FCSL provided student names. Although this does not qualify as a
       breach of personally identifiable information, the Department has redacted the responses
       to remove the student names in both Appendix C-1 and C-2.

       Disclaimer:

       Although the review was thorough, it cannot be assumed to be all-inclusive. The absence
       of statements in the report concerning FCSL’s specific practices and procedures must not
       be construed as acceptance, approval, or endorsement of those specific practices and
       procedures. Furthermore, it does not relieve FCSL of its obligation to comply with all of
       the statutory or regulatory provisions governing the Title IV, HEA programs.

       C. Final Determinations

       Resolved Findings/Findings without Liabilities

       FCSL has taken the corrective actions necessary to resolve Findings #1. Lack of
       Administrative Capability, #4. Federal Direct Loan Overaward – Cost of Attendance
       Exceeded, #5. Student Credit Balance Deficiency, #6. NSLDS Student Status –
       Untimely/Incorrect Reporting, #8. Record Retention, and #9. Return of Title IV Funds



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       Policy Inadequate of the Program Review Report. Therefore, these findings may be
       considered closed for the purposes of the Program Review. FCSL’s written response to
       these findings are contained in Appendix C-1, November 12, 2019 response. Though
       these findings are being closed, the Department will address Findings #4. Federal Direct
       Loan Overaward – Cost of Attendance Exceeded, #5. Student Credit Balance
       Deficiency, and #8. Record Retention to include some basic detail of FCSL’s response
       and provide a Department response.

              Finding #4. Federal Direct Loan Overaward – Cost of Attendance Exceeded

              FCSL concurred with Student #26 and did respond in an acceptable manner to the
              required actions within the report. However, FCSL challenged the Department’s
              assessment of Student #1. FCSL stated that $408.00 the student paid included a
              seat deposit of $400.00 and $8.00 for a transcript, which should not be counted
              towards the student’s cost of attendance.

              According to FCSL’s 2017-2018 catalog, “Each applicant, upon being admitted,
              must pay a seat deposit of $400. This deposit will be credited to the student’s
              tuition upon registration.” Therefore, the $400.00 seat deposit defrays the cost of
              tuition and counts as a resource. The Department also notes, via the student’s
              ledger, that the additional $8.00 counted towards the student’s tuition; therefore, it
              too counts as a resource.

              The total amount of Direct Loans that FCSL improperly disbursed during the
              2017-2018 and 2018-2019 award years for this finding is $7,833.00. However, in
              lieu of requiring the institution to assume the risk of default by purchasing the
              ineligible loans from the Department, or asserting a liability for the entire loan
              amount, the Department determines a liability for the estimated loss (EL) that the
              government may incur with respect to the ineligible loans. As a result of this
              calculation, no liability based on estimated loss will be established for this
              finding. Appendix F contains the results of the calculation of the EL. However,
              the Department reminds FCSL of its fiduciary duty to adhere to Cost of
              Attendance standards, along with following its internal policies and procedures
              relating to resources that defray a student’s tuition.

              Finding #5. Student Credit Balance Deficiency

              FCSL disagrees with this finding. FCSL contends this was an overaward and not
              a true credit balance because it occurred during FCSL’s “add-drop” period.
              Therefore, returning the Title IV funds back to the Federal Direct PLUS program
              was appropriate.

              The Department disagrees with this assessment. 34 C.F.R. § 668.164(h) does not
              provide a provision for negating a credit balance because of an institution’s “add-



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              drop” period. As described in the Program Review Report (PRR), FCSL did not
              provide the entirety of Student #30’s credit balance to the student and returned a
              portion back to the Title IV program. Student #30 was still eligible for the
              remaining portion of their credit balance returned to the Title IV program despite
              a reduction in tuition, which adjusted the student’s cost of attendance.

              FCSL did respond in an acceptable manner to the required actions in the PRR.
              However, the Department recommends adding an additional point in its revised
              procedures that discusses cost of attendance and a student’s eligibility up to cost
              of attendance, which could result in a credit balance. Nevertheless, this finding is
              closed.

              Finding #8. Record Retention

              FCSL does not concur with this finding. FCSL contended its processes, which it
              described in its response, met the requirements for record retention. Additionally,
              FCSL indicated that it has never had a finding for record retention in 13 years,
              which is the length of time FCSL has used their current student information
              system CampusVue.

              The Department disagrees with this interpretation. FCSL, as demonstrated by its
              inability to provide supporting documentation for attendance for some students
              during the onsite program review and lack of record retention policies relating to
              supporting documentation for attendance, did not maintain reports and forms used
              by the institution and any records needed to verify data that appear in those reports
              and forms, along with established record retention policies to keep this information
              for three years after the end of the award year in which the records are submitted in a
              systemically organize manner. The fact that FCSL has not had this as a finding in
              13 years is irrelevant.

              However, FCSL did respond in an acceptable manner to the required actions in the
              PRR. This finding is closed.

       Findings with Established Liabilities

       The final program review report findings with liabilities requiring further action are
       summarized below. At the conclusion of each finding is a summary of FCSL’s response
       to the finding, and the Department's final determination for that finding. A copy of the
       program review report issued on September 11, 2019 is attached as Appendix B.




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       Finding #2. Satisfactory Academic Progress (SAP) Not Developed/Monitored and
                   Ineligible Student – Not Making SAP

       Summary of Noncompliance: In accordance with 34 C.F.R. §§ 668.16(e) and 668.34,
       institutions are required to have a satisfactory academic progress (SAP) policy for
       purposes of determining student eligibility for assistance under a Title IV, HEA program.
       The institution must establish, publish, and apply reasonable standards for his or her
       educational program. The Secretary considers an institution’s standards to be reasonable
       if the SAP policy is the same or stricter than the institution’s standards for a student
       enrolled in the same educational program who is not receiving Title IV, HEA program
       assistance. However, at a minimum, the SAP policy must include the following
       components:

          •   A qualitative component which consists of grades, work projects completed, or
              comparable factors that are measurable against a norm: and
          •   A quantitative component that consists of the pace at which a student must
              progress through his or her educational program to ensure that the student will
              complete the program within the maximum timeframe in which a student must
              complete his or her educational program;
                 o The quantitative component is calculated by dividing the cumulative
                     number of hours the student has successfully completed by the cumulative
                     number the student has attempted.

       Provide for a determination at the end of each increment as to whether the student has
       met the qualitative and quantitative components of the standards.

       Additionally, the FSA program regulations make no provision for the concept of
       academic amnesty or academic renewal. Therefore, a school must always include
       courses applicable to a student’s major (whenever taken) in evaluating a student’s
       satisfactory academic progress (both qualitative and quantitative). See 2018-19 Federal
       Student Aid Handbook, Volume 1, Chapter 1, pages 15-16.

       FCSL’s policy is incomplete and fails to include all required description, statements, and
       required elements. Specifically, FCSL’s policy does not include:

          •   A quantitative component that consists of the pace at which a student must
              progress through his or her educational program to ensure that the student will
              complete the program within the maximum timeframe in which a student must
              complete his or her educational program

       Additionally, FCSL has an internal policy of academic amnesty/renewal that allows
       students that have failed SAP and have left the school for a period of two years or more,
       to go through the re-admission process. If these students are readmitted, FCSL erases




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       previous grades and credits attempted, which affects both the qualitative and quantitative
       components of SAP.

       Directives from PRR: The Department required FCSL to:
          1. Update its policy and procedures to be in compliance with the SAP requirements
              of 34 C.F.R. § 668.34
                   a. Provide a marked-up updated copy notating all changes being made as a
                       result of this evaluation
          2. Complete a full file review of all SAP evaluations using their updated policy and
              procedures, which will include the quantitative component and courses applicable
              to a student’s major (whenever taken), for the 2017-2018 and 2018-2019 award
              years. In order to test SAP in the award years covered by the review, FCSL had
              to begin with the student’s first enrollment at FCSL, which may be before the
              award years covered by the review. If a student would have failed SAP in any
              award year before 2017-2018, FCSL was required to note that in its response.
              The required format for submission of the results was included in Enclosure 2-A.
              FCSL was required to complete and provide, at a minimum, the attached
              worksheet for each award year, or generate its own electronic file in a similar
              format containing the information requested in the file review. The Excel
              spreadsheet, or similar electronic file, was to be provided in the format identified
              in Enclosure 2-A in both hardcopy and electronic format (do not pdf the Excel
              file, or protect it from further formatting).

       After reviewing the spreadsheet, or similar electronic file, prepared by FCSL, the
       Department may select a random sample of students, up to and including the entire
       population of students, to review to confirm the accuracy of the file reviews. If a student
       was selected, FCSL was required to submit copies of the supporting documentation
       evidencing FCSL’s SAP evaluations (quantitative and qualitative).

       Analysis of Liability Determination: FCSL summarized the regulations cited, along
       with the noncompliance section of the PRR. FCSL did respond in an acceptable manner
       to the required actions within the report. FCSL updated their SAP policy and procedures
       to align with 34 C.F.R. § 668.34, which now includes a quantitative component that will
       ensure students graduate within FCSL’s accreditor and federal timeframe.

       Using their updated SAP policy, FCSL conducted a full file review of all SAP
       evaluations and provided this information to the Department via an Excel spreadsheet.
       The Department subsequently requested additional information from FCSL in order to
       confirm the accuracy of the file review and establish what Title IV aid was disbursed
       after a student became ineligible due to the SAP review. The Department randomly
       selected thirty students to confirm the accuracy of the file review.




                                                                                  FCSL - 000111
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       Upon review of the information provided, the Department determined that Title IV, HEA
       funds were disbursed to two students who were otherwise ineligible due to SAP.

          •   Student #2-17 had a cumulative (Cum) grade point average (GPA) of 1.87 at the
              end of term 17-FL-SP-P and should have been placed on financial aid warning at
              the end of the term (below FCSL’s minimum Cum GPA of 2.0). The following
              term, 17-FL-SU-C1, the student’s Cum GPA was 1.97, which would have caused
              this student to move to Financial Aid Suspension at the end of the term (below
              FCSL’s minimum Cum GPA of 2.0). The following term, 17-FL-FA-P, the
              student was ineligible for Title IV, HEA funds due to SAP but received
              $10,141.00 in Direct Unsubsidized and $20,101.00 in Direct PLUS loan funds.
              FCSL did not indicate, nor provide, that the student had a successful SAP appeal.
          •   Student #2-19 had a Cum GPA of 1.47 at the end of term 17-FL-FA-P and should
              have been placed on financial aid warning at the end of the term (below FCSL’s
              minimum pre-spring 2015 matriculation Cum GPA of 1.6 for 1-15 hours). The
              following term, 18-FL-SP-P, the student’s Cum GPA was 1.57, which would have
              caused this student to move to Financial Aid Suspension at the end of the term
              (below FCSL’s minimum pre-spring 2015 matriculation Cum GPA of 2.0 for 16-
              30 hours). The student received aid for the following five terms, despite being
              ineligible for Title IV, HEA funds due to SAP. FCSL did not indicate, nor
              provide, that the student had a successful SAP appeal.
                  o 18-FL-SU-P – $10,141.00 in Direct Unsubsidized loan funds
                  o 18-FL-FA-P – $10,141.00 in Direct Unsubsidized loan funds
                  o 19-FL-SP-PR – $10,142.00 in Direct Unsubsidized loan funds
                  o 19-SU-P – $10,142.00 in Direct Unsubsidized loan funds
                  o 19-FA-P – $10,142.00 in Direct Unsubsidized loan funds

       With regard to the Direct Loan funds, the institution is required to repay the estimated
       cost of making those loans available. The total amount of ineligible Direct Loan funds
       disbursed to ineligible students is $80,950.00. The estimated loss to the Department that
       has resulted or will result from those ineligible loans is based on the Department’s cost
       data and FCSL’s most recent cohort default rate available. As a result, the estimated
       actual loss that FCSL must pay to the Department for the ineligible loans is $2,817.89. A
       copy of the results of that calculation is included as Appendix D.

       Finding #3. Return of Title IV Funds Inaccurate

       Summary of Noncompliance: In accordance with 34 C.F.R. § 668.22, when a recipient
       of Title IV grant or loan assistance withdraws from an institution during a payment
       period or period of enrollment in which the recipient began attendance, the institution




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       must determine the amount of Title IV grant or loan assistance that the student earned as
       of the student’s withdrawal date. As required by 34 C.F.R § 668.22(j), an institution
       must return the amount of Title IV funds for which it is responsible under 34 C.F.R.
       §668.22(g) as soon as possible but no later than 45 days after the date of the institution’s
       determination that the student withdrew, as defined in 34 C.F.R. § 668.22.

       An institution must provide within 30 days of the date of the institutions determination
       that the student withdrew, a written notification to the student, or parent in the case of
       parent PLUS loans relating to post-withdrawal disbursements. 34 C.F.R.
       §668.22(a)(6)(iii)(A). This can only be accomplished if an institution completes the
       return of Title IV funds calculation within 30 days.

       Additionally, in accordance with 34 C.F.R. § 668.22(a), when a recipient of Title IV
       grant or loan assistance withdraws from an institution during a payment period or period
       of enrollment in which the recipient began attendance, the institution must determine the
       amount of Title IV grant or loan assistance that the student earned as of the student’s
       withdrawal date.

       34 C.F.R. § 668.22(e) states that the calculation of the amount of Title IV assistance
       earned by the student is calculated by determining the percentage of Title IV grant or
       loan assistance that has been earned by the student, and applying the percentage to the
       total amount of Title IV grant or loan assistance that was disbursed (and that could have
       been disbursed) to the student, or on the student’s behalf, for the payment period or
       period of enrollment as of the student’s withdrawal date.

       34 C.F.R. § 668.22(e)(5)(i) states that for a student attending a standing term-based
       (semester, trimester or quarter) education program, the treatment of Title IV funds if a
       student withdraws must be determined on a payment period basis.

       FCSL is an institution that is required to take attendance by their accreditor. FCSL’s
       method for taking and tracking attendance is manual through a roster, and the information
       is later transferred to the faculty portal, which is then imported into FCSL’s student
       information system.

       In reviewing return of Title IV funds calculations, the Department requested the physical
       sign-in sheets relating to all classes taken during the term a student’s calculation was
       performed, in order to validate the last date of attendance used. FCSL was unable to
       provide the physical sign-in sheets (see Finding #8 Record Retention for additional
       information).

       FCSL failed to:
          • Perform a return of Title IV funds calculation;
          • Correctly calculate a return of Title IV funds calculation; and




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          •   Return an amount of Title IV funds for which it was responsible timely.

       Directives from PRR: Due to the inability of the Department to verify the last date of
       attendance used for all students who had return of Title IV funds calculations within the
       student sample, along with calculation errors, the Department required FCSL to complete
       a full file review of all students who ceased attendance without completing a period in
       which they received Title IV funds for award years 2017-2018 and 2018-2019 to identify
       the amount of institutional liabilities (if any). The required format for submission of the
       results of this file review was included in Enclosure 3-A. FCSL was required to complete
       and provide, at a minimum, the attached worksheet. The attached worksheet contained a
       separate tab for each award year identified. The Excel spreadsheet was to be provided in
       the format identified in Enclosure 3-A in both hardcopy and electronic format (do not pdf
       the Excel file, or protect it from further formatting). Title IV awards were to be reported
       in the award year from which they were drawn.

       After reviewing the spreadsheet prepared by FCSL, the Department may select a random
       sample of students, up to and including the entire population of withdrawn students, to
       review to confirm the accuracy of the file reviews. If a student was selected, FCSL was
       required to submit copies of the supporting documentation such as but not limited to
       physical sign-in sheets/rosters, documentation pertaining to the last date of academically
       related activity, electronic attendance records, original return of Title IV funds
       calculations, corrected return of Title IV funds calculations, academic transcripts, student
       ledgers, etc.

       Additionally, the Department required FCSL to:
          1. Revise its return of Title IV policies and procedures, ensuring that calculation
              timelines and last date of attendance records are accurate
       Provide a marked-up updated copy notating all changes being made as a result of this
       evaluation.

       Analysis of Liability Determination: FCSL summarized the regulations cited, along
       with the noncompliance section of the PRR. FCSL challenged the Department’s
       assessment of Students #17 and #33, and the Department agrees with FCSL. FCSL did
       respond in an acceptable manner to the required actions within the report.

       In its response, FCSL stated that the reason it was unable to provide the Department with
       the requested physical sign-in sheets relating to all classes taken during the term a
       student’s return of Title IV funds calculation was performed, was due to the records
       being held by a former faculty assistant that is no longer with the institution. However,
       FCSL was eventually able to locate the records in an onsite storage room.

       FCSL conducted a full file review of all return of Title IV applicants during the requested
       award years and provided this information to the Department via an Excel spreadsheet.
       The Department subsequently requested additional information from FCSL in order to



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       confirm the accuracy of the file review and establish liabilities. The Department selected
       the entire population of return of Title IV funds calculations performed during the 2017-
       2018 and 2018-2019 award years, which included students not reviewed while onsite.
       FCSL provided the requested documentation, along with a narrative summary of the
       student sample. Upon review, the Department determined additional regulatory
       violations not noted in the PRR. The Department addresses these below. The student
       numbers coincide with the findings Cost of Funds (COF), which is Appendix E.

       As mentioned above, an institution must provide within 30 days of the date of the
       institutions determination that the student withdrew, a written notification to the student,
       or parent in the case of parent PLUS loans relating to post-withdrawal disbursements. 34
       C.F.R. §668.22(a)(6)(iii)(A). This can only be accomplished if an institution completes
       the return of Title IV funds calculation within 30 days.

          •   Student #3-1 initiated a withdrawal from FCSL on 09/29/2017. FCSL calculated
              the return of Title IV funds on 11/08/2017, which is 41 days (11 days late).
          •   Student #3-2 initiated a withdrawal from FCSL on 09/26/2017. FCSL calculated
              the return of Title IV funds on 11/08/2017, which is 44 days (14 days late).
          •   Student #3-3 initiated a withdrawal from FCSL on 10/09/2017. FCSL calculated
              the return of Title IV funds on 11/08/2017, which is 31 days (one day late).

       After review, the Department determined the liability to be $13,992.00 for Direct Loan
       funds.

       Award Year     Direct Loan
       2017-2018      $1,747.00
       2018-2019      $12,245.00
       Total          $13,992.00

       The interest due on the Direct Loan funds, known as the Cost of Funds (COF), is
       identified below for each award year. The amount is added to the funds during the year,
       which results in the total Direct Loan liability that must be repaid. A copy of the COF
       calculation is included as Appendix E.

       Award Year     Liability      Cost of Funds           Total Liability
       2017-2018      $1,747.00      $27.00                  $1,774.00

       2018-2019      $12,245.00     $39.00                  $12,284.00

       FCSL must notify all students and/or borrowers in writing regarding payments made on
       their behalf. This notification must include the amount and date of the payments.




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       Additionally, as discussed in detail later in this report, FCSL will have 45 days as of the
       date of this report to adjust records within the Department’s Common Origination and
       Disbursement system.

       Finding #7. Inaccurate Disbursement Information Reported to Common
                   Origination and Disbursement (COD) System

       Summary of Noncompliance: An institution makes a disbursement of Title IV, HEA
       program funds on the date the institution credits a student’s account at the institution or
       pays a student or parent directly with funds received from the Secretary or institutional
       funds used in advance of receiving Title IV, HEA funds. 34 C.F.R. § 668.164(a).

       An institution must establish and maintain, on a current basis, program records that
       document its disbursement and delivery of Title IV program funds and financial records
       that reflect each Title IV program transaction. 34 C.F.R. § 668.24(b)(2). The records
       that an institution must maintain include but are not limited to documentation relating to
       each student’s or parent’s receipt of Title IV program funds. This documentation
       includes but is not limited to:

          •   The date and amount of each disbursement or delivery of grant or loan funds;
          •   The amount, date and basis of the institution’s calculation of any refunds or
              overpayments due to or on behalf of the student, or the treatment of Title IV funds
              when a student withdraws;
          •   The payment of any overpayment or the return of any Title IV program funds to
              the Title IV program fund, a lender or the Secretary, as appropriate; and
          •   Records of student accounts, including each student’s institutional charges, cash
              payments, FSA payments, cash disbursements, refunds, returns and overpayments
              required for each enrollment period. 34 C.F.R. § 668.24(c).

       The 2018-2019 COD Technical Reference, Volume II, Section 1, pages 98-99, number 3
       states that the disbursement date is the date the money was credited to the student’s
       account or paid to the student directly. The disbursement date is not the date of the
       adjustment transaction.

       There should be one definitive, complete, and accurate record of the charges and
       payments to each student’s account. FCSL is required to report the actual disbursement
       date for Federal Pell Grant and Federal Direct Loan disbursements.

       FCSL did not accurately report disbursement dates to the Common Origination and
       Disbursement (COD) system as required for four reviewed students.

       Directives from PRR: The Department required FCSL to:




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          1. Provide a copy of its updated policies and procedures that will ensure that
             disbursement records for Direct Loan awards are accurately recorded and reported in
             COD
                 a. Provide a marked-up updated copy notating all changes being made as a
                    result of this evaluation
          2. Correct the errors noted above
                 a. Provide documentation that all misreported disbursement dates have been
                    corrected

       Analysis of Liability Determination: Concerning the discrepancies between the record
       transaction in COD and the account ledger disbursement date for students cited in the
       PRR, the Department has reviewed FCSL’s response as well as the revised policies and
       procedures and concluded that this information is satisfactory. In addition, FCSL noted
       that Student #18’s disbursement date in COD matched the student’s ledger. The
       Department agreed and removed Student #18 from this finding’s liabilities assessment.

       Student-borrowers are charged interest on their loans from the disbursement date
       recorded in the COD system. If a disbursement is recorded in COD early, and the
       Federal Direct Loan funds are not delivered to the student until a later date, the student
       must pay interest on their loans for those days in which they did not have use of the
       funds. As a result, it is imperative the correct date be recorded.

       FCSL is liable for the additional interest incurred by students between the COD
       disbursement date and actual disbursement date. The Department extrapolated the
       interest cost due to the three students, four disbursements, as a result of the institution’s
       inaccurate recording of loan disbursements in COD to be $124.00. See Appendix G for
       details of the liability assessment.

       Campus Safety and Security Findings

       The following program review findings have been addressed by the institution and may
       be considered closed for purposes of program review. The Department will provide a
       separate notice if an administrative action is initiated or additional corrective actions are
       needed.

       Finding #10. Crime Awareness Requirements Not Met

       Summary of Noncompliance: The Jeanne Clery Disclosure of Campus Security Policy
       and Campus Crime Statistics Act (Clery Act) and the Department’s regulations require
       that all institutions that receive Title IV program funds must, by October 1 of each year,
       publish and distribute to its current students and employees through appropriate
       publications and mailing, a comprehensive Annual Security Report (ASR) that contains,
       at a minimum, all of the statistical and policy elements enumerated in 34 C.F.R. §
       668.46(b).



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       The ASR must be prepared and actively distributed as a single document. Acceptable
       means of distribution include U.S. Mail, campus mail, hand delivery, or by posting the
       ASR on the institution’s website. If an institution chooses to distribute its report by
       posting to an internet or intranet site, the institution must, by October 1 of each year,
       distribute a notice to all students and employees a statement of the report’s availability
       and a link to its exact electronic address, a description of its contents, as well as an
       advisement that a paper copy will be provided upon request. 34 C.F.R. § 668.41(e)(1).
       The regulations also require institutions to provide a notice containing this information to
       all prospective students and employees. This notice must also inform interested parties
       about how to obtain a paper copy of the ASR.
       34 C.F.R. § 668.41(e)(4).

       An ASR must include statistics for incidents of crimes reported during the three most
       recent calendar years. The covered categories include criminal homicide (murder and
       non-negligent manslaughter), sex offenses (rape, fondling, incest and statutory rape),
       robbery, aggravated assault, burglary, motor vehicle theft, and arson. In addition, an
       institution’s ASR must identify if any of the aforementioned crimes are hate crimes by
       category of bias (larceny-theft, simple assault, intimidation and
       destruction/damage/vandalism of property crimes are included in the ASR only if they
       are hate crimes). An institution’s ASR must also contain statistics for dating violence,
       domestic violence and stalking, as well as arrest and disciplinary referral statistics for
       violations of certain laws pertaining to illegal drugs, illegal usage of controlled
       substances, liquor, and weapons. Furthermore, an institution’s ASR must indicate if a
       crime was “unfounded” and subsequently withheld from a crime statistic category. The
       statistics must be published for the following geographical categories: 1) on campus; 2)
       on-campus student residential facilities (as a subset of category # 1); 3) certain non-
       campus buildings and property; and 4) certain adjacent and accessible public property.
       34 C.F.R. § 668.46(c).

       An ASR must also include several policy statements. These disclosures are intended to
       inform the campus community about the institution’s security policies, procedures, and
       the availability of programs and resources as well as channels for victims of crime to seek
       recourse. In general, these policies include topics such as the law enforcement authority
       and practices of campus police and security forces, incident reporting procedures for
       students and employees, and policies that govern the preparation of the report itself.
       Institutions are also required to disclose alcohol and drug policies and educational
       programs. Policies pertaining to sexual assault education, prevention, and adjudication
       (including procedures for institutional disciplinary action in cases of alleged dating
       violence, domestic violence, sexual assault, or stalking) must also be disclosed.

       An institution must provide detailed policies of the issuance of timely warnings and
       emergency notifications as well as its emergency response and evacuation procedures.
       All required information referenced in 34 C.F.R. § 668.46(b) must be published in the



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       ASR. With the exception of certain drug and alcohol program information, cross-
       referencing to other publications is not sufficient to meet the publication and distribution
       requirements of the Clery Act. 34 C.F.R. § 668.46(b).

       Finally, each institution must also submit its crime statistics to the Department for
       inclusion in the Department’s Campus Safety and Security (CSS) website. 34 C.F.R. §
       668.41(e)(5).

       FCSL failed to prepare, publish, and distribute an accurate and complete 2018 ASR to all
       current and prospective students, faculty, and staff.

       Directives from PRR: FCSL was required to:
          1. FCSL must review and revise its existing internal policies and procedures that
              govern the preparation, publication, and distribution of its ASRs, and develop and
              implement any new policies and procedures as needed to ensure that all
              subsequent ASRs are accurate and complete.
          2. An accurate and complete 2018 ASR must then be prepared, published, and
              distributed to the campus community. A copy of the revised 2018 ASR and
              original 2018 ASR must be sent with the institution’s official response to the
              program review report.
          3. The Department must also receive documentation evidencing the distribution of
              the updated 2018 ASR with FCSL’s response, as well as a certification statement
              attesting to the fact that the materials were provided in accordance with the Clery
              Act. The certification must also affirm that the institution understands its Clery
              Act obligations and that all necessary corrective actions were taken to ensure that
              these violations do not recur.

       Analysis of Determination: FCSL expressed their understanding of the importance of
       providing a comprehensive annual security report (ASR). FCSL mentioned ongoing
       efforts to improve their ASR through recommendations by an independent auditor.
       FCSL stated that the independent auditor did not identify the items pointed out by the
       Department during the program review. FCSL summarized the noncompliance section of
       the PRR and concurred with the finding. FCSL did respond in an acceptable manner to
       the required actions within the report.
           • Procedures, if any, that encourage pastoral counselors and professional
                counselors, if and when they deem it appropriate, to inform the persons they are
                counseling of any procedures to report crimes on a voluntary, confidential basis
                for inclusion in the annual disclosure of crime statistics. 34 C.F.R. §
                668.46(b)(4)(iv);
           • A statement of policy concerning the monitoring and recording through local
                police agencies of criminal activity by students engaged at off-campus locations




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              of student organizations officially recognized by the institution, including student
              organizations with off-campus housing facilities. 34 C.F.R. § 668.46(b)(7);
          •   A list of the possible sanctions that the institution may impose following the
              results of any institutional disciplinary proceeding for an allegation of dating
              violence, sexual assault, or stalking. 34 C.F.R. § 668.46(k)(1)(iii);
          •   Provide that proceedings will require simultaneous notification, in writing, to both
              the accuser and accused, of
                  o the result of any institutional disciplinary proceedings that arises from an
                      allegation of domestic violence, dating violence, sexual assault, or
                      stalking;
                  o the institution’s procedures for the accused and the victim to appeal the
                      results of the institutional disciplinary proceedings; if such procedures are
                      available;
                  o simultaneous notification, in writing to both the accuser and the accused of
                      any change to the result; and
                  o simultaneous notification, in writing to both the accuser and the accused
                      when such results become final. 34 C.F.R. § 668.46(k)(2)(v).

       Additionally, FCSL revised its procedures for preparing, publishing, distributing ASRs,
       and updated its 2018 ASR to include these findings, and redistributed the updated 2018
       ASR.

       FCSL is reminded that the exceptions identified above constitute serious and persistent
       violations of the Clery Act that, by their nature, cannot be cured. There is no way to truly
       “correct” these types of violations once they occur. FCSL’s obligation to produce and
       distribute an accurate and complete ASR is the most basic requirement of the Clery Act
       and is fundamental to the law’s campus safety goals.

       FCSL asserted that it has taken adequate remedial actions and that by doing so, it is now
       in compliance with the Clery Act as required by its PPA. Nevertheless, FCSL deprived
       its students and employees of important campus safety and crime prevention information
       to which they are entitled as a result of the violations documented by the program review.
       For these reasons, FCSL’s remedial actions do not eliminate the possibility that the
       Department will impose an adverse administrative action and/or require additional
       corrective actions. The Department will provide a separate notice if an administrative
       action is initiated or additional corrective actions are needed.




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       Finding #11. Drug and Alcohol Abuse Prevention Program (DAAPP) Requirements
                    Not Met

       Summary of Noncompliance: The Drug-Free Schools and Communities Act (DFSCA)
       and Part 86 of the Department’s General Administrative Regulations require each
       institution of higher education (IHE) to certify that it has developed and implemented a
       drug and alcohol abuse prevention program (DAAPP). The program must be designed to
       prevent the unlawful possession, use, and distribution of drugs and alcohol on campus
       and at recognized events and activities.

       On an annual basis, each IHE must provide the following information in writing to all
       current students (enrolled for any type of academic credit except for continuing education
       units) and all current employees:

          1. A written statement about its standards of conduct that prohibits the unlawful
             possession, use, or distribution of illicit drugs and alcohol by students and
             employees;
          2. A written description of legal sanctions imposed under Federal, state, and local
             laws for unlawful possession or distribution of illicit drugs and alcohol;
          3. A description of the health risks associated with the use of illicit drugs and the
             abuse of alcohol;
          4. A description of any drug or alcohol counseling, treatment, or rehabilitation or re-
             entry programs that are available to students and employees; and
          5. A statement that the IHE will impose disciplinary sanctions on students and
             employees for violations of the institution’s codes of conduct and a description of
             such sanctions.

       The distribution plan must make provisions for providing the DAAPP disclosure annually
       to students who enroll at a date after the initial distribution and for employees who are
       hired at different points throughout the year.

       In addition, each IHE must conduct a biennial review to determine the effectiveness of its
       DAAPP and to ensure consistent enforcement of applicable drug and alcohol-related
       statutes, ordinances, and institutional policies against students and employees found to be
       in violation. All biennial review materials (referred to as “the biennial review report”)
       must be organized and maintained by the IHE and made available to the Department
       upon request. 34 C.F.R. §§ 86.3 and 86.100.

       FCSL violated a provision of the DFSCA and the Department’s Part 86 regulations and
       failed to develop and implement a comprehensive DAAPP.

       Directives from PRR: FCSL was required to:
          1. Develop and implement a comprehensive DAAPP that includes all of the required
              elements found in the DFSCA and the Department’s Part 86 regulations; and



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          2. Redistribute the most recent DAAPP in accordance with the Part 86 regulations
             and provide documentation evidencing the distribution, along with a statement of
             certification attesting to the fact that the materials were provided in accordance
             with the DFSCA. This certification must also affirm that the institution
             understands all of its DFSCA obligations and that it has taken all necessary
             corrective actions to ensure that these violations do not recur.

       Analysis of Liability Determination: FCSL summarized the regulations cited, along
       with the noncompliance section of the PRR. FCSL expressed their understanding of the
       importance of providing a comprehensive DAAPP. The Department has reviewed
       FCSL’s response and concluded that FCSL responded in an acceptable manner to the
       required actions within the report, which required FCSL to include:
          • A statement that it will impose disciplinary sanctions on students and employees.
              Florida Coastal directed students to the “Student Code of Conduct;” however,
              Florida Coastal did not list, or provide a link to, sanctions for direct employees or
              staff.

       Additionally, FCSL developed and implemented a DAAPP that includes the required
       elements found in the DFSCA and the Department’s Part 86 regulations, redistributed an
       updated DAAPP, and provided a statement of certification attesting to the fact that the
       materials were provided in accordance with the DFSCA while also affirming that the
       institution understands all of its DFSCA obligations and that it has taken all necessary
       corrective actions to ensure that these violations do not recur.

       FCSL is reminded that the exceptions identified above constitute serious and persistent
       violations of Part 86, by their nature, cannot be cured. There is no way to truly “correct”
       these types of violations once they occur. FCSL’s obligation to produce and distribute an
       accurate and complete ASR is the most basic requirement of the Clery Act and is
       fundamental to the law’s campus safety goals.

       FCSL asserted that it has taken adequate remedial actions and that by doing so, it is now
       in compliance with Part 86 as required by its PPA. Nevertheless, FCSL deprived its
       students and employees of important campus safety and crime prevention information to
       which they are entitled as a result of the violations documented by the program review.
       For these reasons, FCSL’s remedial actions do not eliminate the possibility that the
       Department will impose an adverse administrative action and/or require additional
       corrective actions. The Department will provide a separate notice if an administrative
       action is initiated or additional corrective actions are needed.




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       D. Summary of Liabilities
       The total amount calculated as liabilities from the findings in the program review
       determination is as follows.

                Established Liabilities
        Liabilities     DL            EL-DL
        Finding #2                    $2,817.89
        Finding #3      $13,992.00
        Finding #7      $124.00
        Subtotal        $14,116.00 $2,817.89


        Interest/SA     66.00
        Subtotal        $14,182.00

        TOTAL           $14,182.00 $2,817.89
        Payable To:                                Totals
        Department      $14,058.00 $2,817.89 $16,875.89
        Students        $124.00                    $124.00

       E. Payment Instructions

       1. Liabilities Owed to the Department

       FCSL owes to the Department $16,875.89. Payment must be made by forwarding a
       check made payable to the “U.S. Department of Education” to the following address
       within 45 days of the date of this letter:

                              U.S. Department of Education
                              P.O. Box 979026
                              St. Louis, MO 63197-9000

       Remit checks only. Do not send correspondence to this address.

       If the check is sent special delivery (signature/receipt required), the check must be sent to
       the following address:

       U.S. Bank
       1005 Convention Plaza
       St. Louis, MO 63101



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       Attn: Govt. Lockbox Tram MO-SL-C2GL
       Re: For Dept. of Ed. 979026
       Payment must be made via check

       Payment must be made via check and sent to the above Post Office Box. Payment
       and/or adjustments made via G5 will not be accepted as payment of this liability.
       Instead, the school must first make any required adjustments in COD as required
       by the applicable finding(s) and Section II – Instructions by Title IV, HEA Program
       (below), remit payment, and upon receipt of payment the Department will apply the
       funds to the appropriate G5 award (if necessary).

       The following identification data must be provided with the payment:

              Amount: $16,875.89
              DUNS: 942258203
              TIN: 200226587
              Program Review Control Number: 2019-4-11-30066

                                          Terms of Payment

       As a result of this final determination, the Department has created a receivable for this
       liability and payment must be received by the Department within 45 days of the date of
       this letter. If payment is not received within the 45-day period, interest will accrue in
       monthly increments from the date of this determination, on the amounts owed to the
       Department, at the current value of funds rate in effect as established by the Treasury
       Department, until the date of receipt of the payment. FCSL is also responsible for
       repaying any interest that accrues. If you have any questions regarding interest accruals
       or payment credits, contact the Department’s Accounts Receivables & Bank Management
       Group at (202) 245-8080 and ask to speak to FCSL’s account representative.

       If full payment cannot be made within 45 days of the date of this letter, contact the
       Centralized Receivables Service (CRS) at 1-855-549-2683 to apply for a payment plan.
       Interest charges and other conditions apply.

       If within 45 days of the date of this letter, FCSL has neither made payment in accordance
       with these instructions nor entered into an arrangement to repay the liability under terms
       satisfactory to the Department, the Department intends to collect the amount due and
       payable by administrative offset against payments due FCSL from the Federal
       Government. FCSL may object to the collection by offset only by challenging the
       existence or amount of the debt. To challenge the debt, FCSL must timely appeal this
       determination under the procedures described in the "Appeal Procedures" section of the
       cover letter. The Department will use those procedures to consider any objection to
       offset. No separate appeal opportunity will be provided. If a timely appeal is filed, the
       Department will defer offset until completion of the appeal, unless the Department



                                                                                 FCSL - 000124
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       determines that offset is necessary as provided at 34 C.F.R. § 30.28. This debt may also
       be referred to the Department of the Treasury for further action as authorized by the Debt
       Collection Improvement Act of 1996.

       2. Liabilities Owed to Students

       Finding #7. Inaccurate Disbursement Information Reported to Common Origination and
       Disbursement (COD) System
       Appendix: Appendix G

                           Student(s)
           Amount                Award Year
           $124.00               2018-2019
           Total
           $124.00

       FCSL must make a good faith effort to pay the amount listed above to the students listed
       in the above Appendix.

       If FCSL cannot locate a student, payment must be made to the account of the program
       from which the award was made. If that cannot be determined, the funds must be paid in
       the order required for the return of funds specified in 34 C.F.R. § 668.22(i):

       Unsubsidized Federal Stafford loans
       Subsidized Federal Stafford loans
       Unsubsidized Federal Direct Stafford loans
       Subsidized Federal Direct Stafford loans
       Federal Perkins Loans
       Federal PLUS loans received on behalf of the student
       Federal Direct PLUS received on behalf of the student
       Federal Pell Grants
       Academic Competitiveness Grants
       National SMART Grants
       FSEOG Program aid
       TEACH Grants

       FCSL must provide proof of payment to the student by submitting a copy of the front and
       back of the canceled check to Mike Powers within 45 days of the date of this letter.

       In the event the student cannot be located, does not cash a check that has been mailed,
       and the institution is unable to initiate an EFT to the student’s or parent’s bank account,
       FCSL must return the funds to the appropriate Title IV program account via G5 and make
       the corresponding downward adjustments to the applicable disbursements in COD.
       FCSL must document its attempts to contact the student and provide proof of payment



                                                                                  FCSL - 000125
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       and COD adjustments to the applicable Title IV program to Mike Powers. The
       Department will not consider this program review closed until the information requested
       has been received.

       3. Liabilities Owed to the Department in the case of Direct Loans

       William D. Ford Federal Direct Loan (Direct Loan) Liabilities:

       Direct Loan Closed Award Years (Request Extended Processing)

       Finding: Finding #3
       Appendix: Appendix E

       FCSL must repay the following Direct Loan liabilities:

                              DL Closed Award Year
           Amount                 Amount         Award Year
           (Principal)            (Interest)
           $1,747.00              $27.00         2017-2018
           $12,245.00             $39.00         2018-2019
           Total Principal        Total Interest
           $13,992.00             $66.00

       The disbursement record for each student identified in the appendix listed above must be
       adjusted in the Common Origination and Disbursement (COD) system based on the
       recalculated amount identified in the/these appendix/appendices. A copy of the
       adjustment to each student’s COD record must be sent to Mike Powers via email within
       45 days of the date of this letter.

       Request Extended Processing

       The DL program year closes 13 months after the award year ends (on the last business
       day in July of the following year). For example, 2011-2012 will close July 31, 2013
       COD adjustments are necessary for the closed award year listed above. Before any
       student level adjustments can be processed, FCSL must immediately request extended
       processing through the COD Website (http://cod.ed.gov).

          •   Click on the Request Post Deadline/Extended Processing link under the School
              menu.

          •   On the request screen, the institution should indicate in their explanation that the
              request is based on a program review, and provide the program review control
              number.



                                                                                   FCSL - 000126
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          •   The institution will be notified of the status of the request at the time of
              submission, and will also be notified by email to the FAA and President when
              extended processing has been authorized. At that time, the school must transmit
              student/borrower level adjustments to COD for the closed award year(s).

       Direct Loan Estimated Loss

       Finding: Finding #2
       Appendix: Appendix D

                                DL Estimated Loss
           Amount                       Award Year
           $939.25                      2017-2018
           $1,408.97                    2018-2019
           $469.67                      2019-2020
           Total
           $2,817.89

       FCSL must pay the amount reflected above in Direct Loan estimated loss liabilities for
       the award year(s) reflected above. The liabilities will be applied to the general Direct
       Loan fund. This amount is also reflected in the total amount owed to the Department in
       Section 1 above.

                                            F. Appendices

       Various appendices contain personally identifiable information; therefore, all appendices
       will be emailed to FCSL as an encrypted WinZip file using Advanced Encryption
       Standard, 256-bit. The password needed to open the encrypted WinZip file will be sent in a
       separate email.




                                                                                 FCSL - 000127
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September 11, 2019

Scott Devito, Dean                                 Shipment via United Parcel Service
Florida Coastal School of Law                      Tracking #: lZ A87 964 02 9082 7350
8787 Baypine Road
Jacksonville, FL 32256-8528


RE:     Program Review Report
        OPE ID: 03374300
        PRCN: 2019-4-11-30066

Dear Mr. Scott Devito:

From August 12, 2019 through August 16, 2019, Butch Smith and Adam Quinn conducted a
review of Florida Coastal School of Law’s (FCSL) administration of the programs authorized
pursuant to Title IV of the Higher Education Act of 1965, as amended, 20 U.S.C. §§ 1070 et seq.
(Title IV, HEA programs). The findings of that review are presented in the enclosed report.

Findings of noncompliance are referenced to the applicable statutes and regulations and specify
the action required to comply with the statute and regulations. Please review the report and
respond to each finding, indicating the corrective actions taken by FCSL. The response should
include a brief, written narrative for each finding that clearly states FCSL’s position regarding
the finding and the corrective action taken to resolve the finding. Separate from the written
narrative, FCSL must provide supporting documentation as required in each finding.

Please note that pursuant to HEA section 498A(b), the Department is required to:
    (1) provide to the institution an adequate opportunity to review and respond to any
        preliminary program review report1 and relevant materials related to the report before any
        final program review report is issued;
    (2) review and take into consideration an institution’s response in any final program review
        report or audit determination, and include in the report or determination –
            a. A written statement addressing the institution’s response;
            b. A written statement of the basis for such report or determination; and
            c. A copy of the institution’s response.

The Department considers the institution’s response to be the written narrative (to include e-mail
communication). Any supporting documentation submitted with the institution’s written
response will not be attached to the FPRD. However, it will be retained and available for
inspection by FCSL upon request. Copies of the program review report, the institution’s


1
  A “preliminary” program review report is the program review report. The Department’s final program review
report is the Final Program Review Determination (FPRD).



                      School Participation Division – Multi-Regional and Foreign Schools
                                                                                     FCSL - 000128
                                                StudentAid.gov
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Florida     3:21-cv-00721
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03374300
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response, and any supporting documentation may be subject to release under the Freedom of
Information Act (FOIA) and can be provided to other oversight entities after the FPRD is issued.

The institution’s response should be sent directly to Butch Smith of this office within 60 calendar
days of receipt of this letter.

Protection of Personally Identifiable Information (PII):
PII is any information about an individual which can be used to distinguish or trace an
individual's identity (some examples are name, social security number, date, and place of birth).
The loss of PII can result in substantial harm, embarrassment, and inconvenience to individuals
and may lead to identity theft or other fraudulent use of the information. To protect PII, the
findings in the attached report do not contain any student PII. Instead, each finding references
students only by a student number created by Federal Student Aid. The student numbers were
assigned in Appendix A, Student Sample. The appendix was encrypted and sent separately to
the institution via e-mail. Please see the enclosure Protection of Personally Identifiable
Information for instructions regarding submission to the Department of required data /
documents containing PII.

Record Retention:
Program records relating to the period covered by the program review must be retained until the
later of: resolution of the loans, claims or expenditures questioned in the program review; or the
end of the retention period otherwise applicable to the record under 34 C.F.R. § 668.24(e).

We would like to express our appreciation for the courtesy and cooperation extended during the
review. Please refer to the above Program Review Control Number (PRCN) in all
correspondence relating to this report. If you have any questions concerning this report, please
contact Butch Smith at butch.smith@ed.gov or 214-661-9514.

Sincerely,




Michelle Allred
Compliance Manager

cc:                  e, Financial Aid Administrator

Enclosure:
Program Review Report (and appendices)
Protection of Personally Identifiable Information




                                                                               FCSL - 000129
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Prepared for
Florida Coastal School of Law

OPE ID: 03374300
PRCN: 2019-4-11-30066

U.S. Department of Education
Federal Student Aid
Multi-Regional and Foreign Schools Participation Division




                        Program Review Report
                                 September 11, 2019




                         830 First Street, N.E. UCP-III. 7th Floor
                                Washington, D.C. 20202
                                     StudentAid.gov                  FCSL - 000130
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       A. Institutional Information

       Florida Coastal School of Law
       8787 Baypine Road
       Jacksonville, FL 32256-8528

       Type: Proprietary

       Highest Level of Offering: Juris Doctor

       Accrediting Agency: American Bar Association

       Current Student Enrollment: 184 (Fall 2019)

       Title IV Participation (National Student Loan Data System):

                                                          AWARD YEAR       AWARD YEAR
               TITLE IV, HEA PROGRAM
                                                            2017-2018         2016-2017
       Federal Direct Unsubsidized Loan                    $6,547,565.00    $12,699,698.00
       Federal Direct PLUS Loan                            $9,607,198.00    $19,392,719.00
       Federal Work Study                                   $31,053.00        $85,552.00
                                                 Total    $16,185,816.00    $32,177,969.00

       Default Rate FFEL/DL:         2013   2.0%
                                     2014   1.7%
                                     2015   2.5%




                                                                            FCSL - 000132
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       B. Scope of Review

       The U.S. Department of Education (the Department) conducted a program review at Florida
       Coastal School of Law (FCSL) from August 12, 2019 to August 16, 2019. Butch Smith and
       Adam Quinn conducted the review.

       The focus of the review was to determine FCSL’s compliance with the statutes and federal
       regulations as they pertain to the institution's administration of the Title IV, HEA programs. The
       review consisted of, but was not limited to, an examination of FCSL’s policies and procedures,
       individual student financial aid and academic files, attendance records, student account ledgers,
       and fiscal records. The Department reviewed such records from the headquarters of FCSL.

       A sample of 33 files was identified for review from the 2017-2018 and 2018-2019 (year to date)
       award years. The files were selected randomly from a statistical sample of the total population
       receiving Title IV, HEA program funds for each award year. Appendix A list the names and
       social security numbers of the students whose files were examined during the program review.

       Disclaimer:

       Although the review was thorough, it cannot be assumed to be all-inclusive. The absence of
       statements in the report concerning FCSL’s specific practices and procedures must not be
       construed as acceptance, approval, or endorsement of those specific practices and procedures.
       Furthermore, it does not relieve FCSL of its obligation to comply with all of the statutory or
       regulatory provisions governing the Title IV, HEA programs.

       This report reflects initial findings. These findings are not final. The Department will issue its
       final findings in a subsequent Final Program Review Determination letter.

       C. Findings

       During the review, some areas of noncompliance were noted. Findings of noncompliance are
       referenced to the applicable statutes and regulations and specify the actions to be taken by FCSL
       to bring operations of the financial aid programs into compliance with the statutes and
       regulations.

       Finding #1. Lack of Administrative Capability

       Noncompliance:

       Pursuant to 34 C.F.R. §§ 668.16 and 668.24, an institution shall demonstrate to the Secretary that
       the institution is capable of adequately administering that program under each of the standards
       established by the Secretary and enumerated in Federal regulations. The Secretary considers an
       institution to have that administrative capability if the institution:




                                                                                   FCSL - 000133
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          •   Designates a capable individual to be responsible for administering all Title IV programs
              in which it participates, and coordinates the programs with the institution's other Federal
              and non-Federal programs of student financial assistance;
          •   Uses an adequate number of qualified persons to administer the Title IV programs;
          •   Communicates all information received by any institutional office that bears on a
              student's eligibility for Title IV, HEA assistance to the individuals designated to be
              responsible for administering the Title IV programs;
          •   Develops and applies an adequate system to identify and resolve discrepancies in the
              information it receives from different sources with respect to a student's application for
              Title IV financial aid;
          •   Administers the programs with adequate checks and balances in its system of internal
              controls;
          •   Establishes and maintains required program records and student financial records; and
          •   Does not otherwise appear to lack the ability to administer the Title IV, HEA programs
              competently.

       If a participating institution fails to administer the Title IV, HEA programs in accordance with all
       of the applicable statutory and regulatory provisions of the Higher Education Act, the Secretary
       may find that institution lacks the administrative capability to continue participation in the Title
       IV, HEA programs. 34 C.F.R. §§ 668.16.

       According to 34 C.F.R. § 668.82, an institution’s capability is measured within the context of a
       fiduciary standard of conduct. In particular, to participate in the Title IV, HEA programs, an
       institution must, at all time, act with the competency and integrity necessary to qualify as a
       fiduciary. In the capacity of a fiduciary, an institution is subject to the highest standard of care
       and diligence in administering the Title IV, HEA programs.

       The General Provisions of the Title IV, HEA and Federal Student Aid Program regulations
       establish certain standards that all participating institutions must operate within if they are to be
       deemed administratively capable. During the program reviews, several violations, some
       systemic, were identified that call the institution’s administrative capability into question. The
       findings of non-compliance noted in this program review report include:

          •   Satisfactory Academic Progress Policy (SAP) Not Developed/Monitored and Ineligible
              Student – Not Making SAP
          •   Return of Title IV Funds Inaccurate
          •   Federal Direct Loan Overaward – Need Exceeded
          •   Student Credit Balance Deficiency
          •   NSLDS Student Status – Untimely/Incorrect Reporting
          •   Inaccurate Disbursement Information Reported to Common Origination and
              Disbursement (COD) System
          •   Record Retention
          •   Return of Title IV Funds Policy Inadequate



                                                                                     FCSL - 000134
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          •   Crime Awareness Requirements Not Met
          •   Drug and Alcohol Abuse Prevention Program (DAAPP) Requirements Not Met

       Required Action:

       To continue participation in any Title IV, HEA program, FCSL must demonstrate that it is
       capable of adequately administering that program under standards established by the Secretary.
       FCSL must complete the required actions for Findings #2-10 of this report to demonstrate that it
       has the administrative capability to administer the Title IV programs properly. Additionally,
       FCSL must repay any liabilities that are assessed in the Final Program Review Determination
       (FPRD).

       Finding #2. Satisfactory Academic Progress Policy (SAP) Not Developed/Monitored and
                    Ineligible Student – Not Making SAP

       Noncompliance:

       In accordance with 34 C.F.R. §§ 668.16(e) and 668.34, institutions are required to have a
       satisfactory academic progress (SAP) policy for purposes of determining student eligibility for
       assistance under a Title IV, HEA program. The institution must establish, publish, and apply
       reasonable standards for his or her educational program. The Secretary considers an institution’s
       standards to be reasonable if the SAP policy is the same or stricter than the institution’s standards
       for a student enrolled in the same educational program who is not receiving Title IV, HEA
       program assistance. However, at a minimum, the SAP policy must include the following
       components:

          •   A qualitative component which consists of grades, work projects completed, or
              comparable factors that are measurable against a norm: and
          •   A quantitative component that consists of the pace at which a student must progress
              through his or her educational program to ensure that the student will complete the
              program within the maximum timeframe in which a student must complete his or her
              educational program;
                  o The quantitative component is calculated by dividing the cumulative number of
                     hours the student has successfully completed by the cumulative number the
                     student has attempted.

       Provide for a determination at the end of each increment as to whether the student has met the
       qualitative and quantitative components of the standards.

       Additionally, the FSA program regulations make no provision for the concept of academic
       amnesty or academic renewal. Therefore, a school must always include courses applicable to a
       student’s major (whenever taken) in evaluating a student’s satisfactory academic progress (both
       qualitative and quantitative). See 2018-19 Federal Student Aid Handbook, Volume 1, Chapter 1,
       pages 15-16.



                                                                                   FCSL - 000135
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       FCSL’s policy is incomplete and fails to include all required description, statements, and
       required elements. Specifically, FCSL’s policy does not include:

          •   A quantitative component that consists of the pace at which a student must progress
              through his or her educational program to ensure that the student will complete the
              program within the maximum timeframe in which a student must complete his or her
              educational program

       Additionally, FCSL has an internal policy of academic amnesty/renewal that allows students that
       have failed SAP and have left the school for a period of two years or more, to go through the re-
       admission process. If these students are readmitted, FCSL erases previous grades and credits
       attempted, which affects both the qualitative and quantitative components of SAP.

          •   Student #22 was readmitted into the Juris Doctor degree program in the 2018 Spring – P
              Term under FCSL’s academic amnesty/renewal and had all qualitative and quantitative
              components of previous 2014 Fall – P Term academic work removed. As a result of this
              academic amnesty/renewal, FCSL considered the student to be in good standing with
              FCSL’s SAP policy. The student received $9,557.00 in Direct PLUS and $10,141.00 in
              Direct Unsubsidized loan funds during the readmitted 2018 Spring – P Term. However,
              FCSL should have included courses applicable to the student’s major in evaluating SAP
              (both qualitative and quantitative). Therefore, this student should have been failing SAP
              and ineligible for the Title IV, HEA funds disbursed during the 2018 Spring – P Term.

       Required Action:

       FCSL must:
         1. Update its policy and procedures to be in compliance with the SAP requirements of 34
            C.F.R. § 668.34
                a. Provide a marked-up updated copy notating all changes being made as a result of
                    this evaluation
         2. Complete a full file review of all SAP evaluations using their updated policy and
            procedures, which will include the quantitative component and courses applicable to a
            student’s major (whenever taken), for the 2017-2018 and 2018-2019 award years. In
            order to test SAP in the award years covered by the review, FCSL will have to begin with
            the student’s first enrollment at FCSL, which may be before the award years covered by
            the review. If a student would have failed SAP in any award year before 2017-2018,
            FCSL must note that in its response. The required format for submission of the results is
            included in Enclosure 2-A. FCSL must complete and provide, at a minimum, the
            attached worksheet for each award year, or generate its own electronic file in a similar
            format containing the information requested in the file review. The Excel spreadsheet, or
            similar electronic file, must be provided in the format identified in Enclosure 2-A in both
            hardcopy and electronic format (do not pdf the Excel file, or protect it from further
            formatting).



                                                                                  FCSL - 000136
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       After reviewing the spreadsheet, or similar electronic file, prepared by FCSL, the Department
       may select a random sample of students, up to and including the entire population of students, to
       review to confirm the accuracy of the file reviews. If a student is selected, FCSL will be
       required to submit copies of the supporting documentation evidencing FCSL’s SAP evaluations
       (quantitative and qualitative).

       Instructions for repayment of liabilities, if any, will be provided in the FPRD. FCSL must not
       attempt to repay any funds owed to the Department until the FPRD is issued. Hard copy and
       electronic files containing PII must be safeguarded as described in the enclosure to the cover
       letter of this report.

       Finding #3. Return of Title IV Funds Inaccurate

       Noncompliance:

       In accordance with 34 C.F.R. § 668.22, when a recipient of Title IV grant or loan assistance
       withdraws from an institution during a payment period or period of enrollment in which the
       recipient began attendance, the institution must determine the amount of Title IV grant or loan
       assistance that the student earned as of the student’s withdrawal date. As required by 34 C.F.R §
       668.22(j), an institution must return the amount of Title IV funds for which it is responsible
       under 34 C.F.R. §668.22(g) as soon as possible but no later than 45 days after the date of the
       institution’s determination that the student withdrew, as defined in 34 C.F.R. § 668.22.

       An institution must provide within 30 days of the date of the institutions determination that the
       student withdrew, a written notification to the student, or parent in the case of parent PLUS loans
       relating to post-withdrawal disbursements. 34 C.F.R. §668.22(a)(6)(iii)(A). This can only be
       accomplished if an institution completes the return of Title IV funds calculation within 30 days.

       Additionally, in accordance with 34 C.F.R. § 668.22(a), when a recipient of Title IV grant or
       loan assistance withdraws from an institution during a payment period or period of enrollment in
       which the recipient began attendance, the institution must determine the amount of Title IV grant
       or loan assistance that the student earned as of the student’s withdrawal date.

       34 C.F.R. § 668.22(e) states that the calculation of the amount of Title IV assistance earned by
       the student is calculated by determining the percentage of Title IV grant or loan assistance that
       has been earned by the student, and applying the percentage to the total amount of Title IV grant
       or loan assistance that was disbursed (and that could have been disbursed) to the student, or on
       the student’s behalf, for the payment period or period of enrollment as of the student’s
       withdrawal date.

       34 C.F.R. § 668.22(e)(5)(i) states that for a student attending a standing term-based (semester,
       trimester or quarter) education program, the treatment of Title IV funds if a student withdraws
       must be determined on a payment period basis.



                                                                                  FCSL - 000137
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       FCSL is an institution that is required to take attendance by their accreditor. FCSL’s method for
       taking and tracking attendance is manual through a roster, and the information is later transferred
       to the faculty portal, which is then imported into FCSL’s student information system.

       In reviewing return of Title IV funds calculations, the Department requested the physical sign-in
       sheets relating to all classes taken during the term a student’s calculation was performed, in order
       to validate the last date of attendance used. FCSL was unable to provide the physical sign-in
       sheets (see Finding #8 Record Retention for additional information). Therefore, the Department
       was unable to verify the last date of attendance used for Students #17, #31, #32, and #33.

       FCSL failed to perform the return of Title IV funds calculation timely for Student #17.

          •   Student #17 – Last date of attendance (LDA) according to the institution’s electronic
              attendance records provided to the Department was 04/04/2019 and the return of Title IV
              funds calculation was performed by FCSL 08/14/2019, which is 133 days (103 days late)

       FCSL incorrectly calculated Return of Title IV funds for Student #31.

          •   Student #31 – began attendance in the 05/29/2018-07/27/2018 payment period and the
              LDA used on the return of Title IV funds calculation was 06/18/2018. However,
              according to the institution’s unsupported electronic attendance records provided to the
              Department, Student #31’s LDA was 05/29/2018. Therefore, the percentage of the
              payment period completed in the return of Title IV funds calculation should have been
              0.03% (1 day out of 60 days). This means the Title IV aid earned by the student should
              have been $327.40 (0.03% X $9,822.00). Additionally, the amount of Title IV aid that
              should have been returned is $9,494.60 ($9,822.00 – $327.40 = $9,494.60). FCSL
              assessed $9,675.00 for institutional charges. The amount of unearned charges should
              have been $9,585.02 (9,675.00 X 99.07% = $9,585.02). Therefore, FCSL should have
              returned $9,494.60 in Direct Unsubsidized Loan funds to the Department, which is
              $3,203.60 more than FCSL originally returned. The $3,203.60 is considered an
              institutional liability.

       FCSL failed to return the amount of Title IV funds for which it is responsible timely.

          •   Student #33 – initiated a withdrawal on 10/08/2018. The student’s LDA, according to the
              institution’s electronic attendance records provided to the Department, was 09/24/2019.
              FCSL performed the return of Title IV funds calculation on 10/17/2018 (10 days from
              withdrawal date). The return of Title IV funds calculation required FCSL to return Direct
              Unsubsidized and PLUS loans to the Department. FCSL returned the required Title IV
              funds to the Department on 02/05/2019 (121 days from withdrawal date), which is 76
              days late.




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       Required Action:

       Due to the inability of the Department to verify the last date of attendance used for all students
       who had return of Title IV funds calculations within the student sample, along with calculation
       errors, FCSL must complete a full file review of all students who ceased attendance without
       completing a period in which they received Title IV funds for award years 2017-2018 and 2018-
       2019 to identify the amount of institutional liabilities (if any). The required format for
       submission of the results of this file review is included in Enclosure 3-A. FCSL must complete
       and provide, at a minimum, the attached worksheet. The attached worksheet contains a separate
       tab for each award year identified. The Excel spreadsheet must be provided in the format
       identified in Enclosure 3-A in both hardcopy and electronic format (do not pdf the Excel file, or
       protect it from further formatting). Title IV awards should be reported in the award year from
       which they were drawn.

       After reviewing the spreadsheet prepared by FCSL, the Department may select a random sample
       of students, up to and including the entire population of withdrawn students, to review to confirm
       the accuracy of the file reviews. If a student is selected, FCSL will be required to submit copies
       of the supporting documentation such as but not limited to physical sign-in sheets/rosters,
       documentation pertaining to the last date of academically related activity, electronic attendance
       records, original return of Title IV funds calculations, corrected return of Title IV funds
       calculations, academic transcripts, student ledgers, etc.

       Additionally, FCSL must:
          1. Revise its return of Title IV policies and procedures, ensuring that calculation timelines
              and last date of attendance records are accurate
                  a. Provide a marked-up updated copy notating all changes being made as a result of
                      this evaluation

       Instructions for repayment of liabilities, if any, will be provided in the FPRD. FCSL must not
       attempt to repay any funds owed to the Department until the FPRD is issued. Hard copy and
       electronic files containing PII must be safeguarded as described in the enclosure to the cover
       letter of this report.

       Finding #4. Federal Direct Loan Overaward – Cost of Attendance Exceeded

       Noncompliance:

       The cost of attendance (COA) is the cornerstone of establishing a student’s Title IV, HEA
       program, funds, as it sets a limit on the total aid that a student may receive for purposes of the
       TEACH Grant, Campus-Based programs, and Direct/Direct PLUS Loans, and is one of the basic
       components of the Pell Grant calculation.

       The cost of attendance is determined by law (Higher Education Act, Sec. 472). The law
       specifies the types of costs that are included in the cost of attendance, but the institution must



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       determine the appropriate and reasonable amounts to include for each eligible COA category for
       its students. The cost of attendance, based on the student’s enrollment status, should represent
       the student’s cost for the period for which the aid is intended.

       A school may not originate a Direct Subsidized, Direct Unsubsidized, or Direct PLUS Loan, or a
       combination of loans, for an amount that exceeds the student’s estimated cost of attendance less
       (A) the student’s estimated financial assistance for that period; and (B) in the case of a Direct
       Subsidized Loan, the borrower’s expected family contribution for that period. 34 C.F.R. §
       685.301(a)(4).

       FCSL awarded Federal Direct Unsubsidized and PLUS loan funds that exceeded two students’
       COA.

          •   Student #1: The COA for this student for the enrollment period that covered 2017 Fall –
              P was $34,872.00. The student received $11,616.00 in Direct/Direct PLUS loans and
              $23,490 in other/additional aid, which totals $35,106.00 in total aid counted against need.
              This created an overaward of $234.00.
          •   Student #26: The COA for this student for the enrollment period that covered 2018 Fall –
              P was $31,079.00. The student received $38,678.00 in Direct/Direct PLUS loans counted
              against need. This created an overaward of $7,599.00.

       Required Action:

       FCSL must:
         1. Update its policy and procedures to be in compliance with 34 C.F.R. § 685.301(a)(4) and
            the Higher Education Act, Sec. 472
                a. Provide a marked-up updated copy notating all changes being made as a result of
                   this evaluation

       Instructions for repayment of liabilities, if any, will be provided in the FPRD. FCSL must not
       attempt to repay any funds owed to the Department until the FPRD is issued. Hard copy and
       electronic files containing PII must be safeguarded as described in the enclosure to the cover
       letter of this report.

       Finding #5. Student Credit Balance Deficiency

       Noncompliance:

       Whenever an institution disburses Title IV, HEA funds by crediting a student’s account, and the
       total amount of all Title IV, HEA funds credited exceeds the amount of tuition and fees, room
       and board, and other authorized charges the institution assessed the student, the institution must
       pay the resulting credit balance directly to the student or parent as soon as possible but (1) no
       later than 14 days after the balance occurred if the credit balance occurred after the first day of
       class of a payment period; or (2) no later than 14 days after the first class of a payment period if



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       the credit balance occurred on or before the first day of class of that payment period. 34 C.F.R. §
       668.164(h).

       Per 34 C.F.R. § 668.15(a) and § 668.15(b), in order to participate in any Title IV, HEA program,
       an institution must demonstrate to the Secretary that the institution is financially responsible
       under the requirements established in the general standards of financial responsibility section. In
       general, the Secretary considers an institution financially responsible only if it is meeting all of
       its financial obligations, including but not limited to refunds that it is required to make.

       FCSL failed to disburse a Title IV credit balance appropriately to the following student within 14
       days:

          •   Student #30 – During the 2019 Spring – P term, the student’s total cost was $25,083.00.
              On 01/18/2019, the student received $26,502.00 in Direct PLUS and $10,142.00 in Direct
              Unsubsidized loans, which totaled $36,644.00. This created a credit balance of
              $11,561.00 on 01/18/2019. FCSL reduced the student’s tuition by $1,849.00 on
              01/30/2019, which increased the Title IV credit balance to $13,410.00. FCSL issued an
              $11,561.00 credit balance to the student on 01/31/2019, which left an outstanding credit
              balance of $1,849.00. However, instead of providing the student with the remaining
              credit balance of $1,849.00, FCSL returned the funds back to the Direct PLUS program
              on 02/06/2019.

       Required Action:

       FCSL must:
         1. Provide a copy of its updated policies and procedures that will ensure all Title IV credit
            balances are paid in accordance with the above-mentioned regulations
                a. Provide a marked-up updated copy notating all changes being made as a result of
                   this evaluation

       Finding #6. NSLDS Student Status – Untimely/Incorrect Reporting

       Noncompliance:

       An institution must, upon receipt of a student status confirmation report from the Secretary,
       complete and return that report to the Secretary within 15 days of receipt; and unless it expects to
       submit its next student status confirmation report to the Secretary within the next 60 days, notify
       the Secretary within 30 days if it discovers that a Direct Subsidized, Direct Unsubsidized, or
       Direct PLUS Loan has been made to or on behalf of a student who enrolled at that school but has
       ceased to be enrolled on at least a half-time basis; has been accepted for enrollment at that school
       but failed to enroll on at least a half-time basis for the period for which the loan was intended; or
       has changed his or her permanent address. Student enrollment information is important, because
       it is used to determine whether the student is still in school, or if the student must be moved into




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       repayment. The student’s out-of-school status effective date determines when the student’s grace
       period begins and how soon the student must begin repaying loan funds. 34 C.F.R. § 685.309(b).

       See below for details relating to Student #s 2, 6, 10, 15, 16, 17, 18, 19, 20, 21, 22, 23, 25, 26, 27,
       29, 30, and 31.

          •   Student #2 – FCSL certified on 08/08/2017 that the student was “Half Time” and NSLDS
              received this submission on 09/12/2017. However, in FCSL’s subsequent NSLDS
              submission, the student was reported as “Full Time” effective 08/07/2017. FCSL should
              have reported this student as “Full Time” when they certified the student’s status on
              08/08/2017, since the student’s effective date for “Full Time” status was 08/07/2017.
          •   Student #6 – FCSL certified on 08/08/2017 that the student was “Half Time” and NSLDS
              received this submission on 09/12/2017. However, in FCSL’s subsequent NSLDS
              submission, the student was reported as “Full Time” effective 08/07/2017. FCSL should
              have reported this student as “Full Time” when they certified the student’s status on
              08/08/2017, since the student’s effective date for “Full Time” status was 08/07/2017
          •   Student #10 – FCSL reported the student as “Half Time” effective 05/15/2017, which
              was last certified on 08/08/2017. NSLDS received this information on 08/18/2017. The
              student moved to “Full Time” status effective the following term beginning on
              08/07/2017, which was certified on 10/11/2017. FCSL should have reported this student
              as “Full Time” when they certified the student’s status on 08/08/2017, since the student’s
              effective date for “Full Time” status was 08/07/2017. Additionally, NSLDS did not
              receive the 10/11/2017 certification until 11/08/2017. Therefore, there is 83 days
              (08/18/2017 to 11/08/2017) between submissions, which is 23 days late.
          •   Student #15 – FCSL certified on 08/08/2017 that the student was “Half Time” and
              NSLDS received this submission on 09/12/2017. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Full Time” effective 08/07/2017.
              FCSL should have reported this student as “Full Time” when they certified the student’s
              status on 08/08/2017, since the student’s effective date for “Full Time” status was
              08/07/2017.
          •   Student #16 – FCSL reported the student as “Full Time” effective 08/20/2018, and
              NSLDS received this submission on 08/22/2018. NSLDS did not receive the next
              submission until 01/04/2019. Therefore, there is 136 days (08/22/2018 to 01/04/2019)
              between submissions, which is 76 days late.
          •   Student #17 – FCSL certified on 09/11/2018 that the student was “Half Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Three Quarter Time” effective
              08/20/2018. FCSL should have reported this student as “Three Quarter Time” when they
              certified the student’s status on 09/11/2018, since the student’s effective date for “Half
              Time” was 08/20/2018.
              FCSL certified on 01/30/2019 that the student was “Three Quarter Time” and NSLDS
              received this submission on 03/12/2019. However, in FCSL’s subsequent NSLDS
              submission, the student was reported as “Half Time” effective 01/28/2019. FCSL should




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              have reported this student as “Half Time” when they certified the student’s status on
              01/30/2019, since the student’s effective date for “Half Time” was 01/28/2019.
          •   Student #18 – FCSL reported the student as “Full Time” effective 08/20/2018, and
              NSLDS received this submission on 08/22/2018. NSLDS did not receive the next
              submission until 01/04/2019. Therefore, there is 136 days (08/22/2018 to 01/04/2019)
              between submissions, which is 76 days late.
          •   Student #19 – FCSL certified on 08/27/2018 that the student was “Half Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Full Time” effective 08/20/2018.
              FCSL should have reported this student as “Full Time” when they certified the student’s
              status on 08/27/2018, since the student’s effective date for “Full Time” status was
              08/20/2018.
          •   Student #20 – FCSL certified on 08/22/2018 that the student was “Full Time” and
              NSLDS received this submission on 08/22/2018. NSLDS did not receive the next
              submission until 01/04/2019. Therefore, there is 136 days (08/22/2018 to 01/04/2019)
              between submissions, which is 76 days late.
          •   Student #21 – FCSL certified on 08/27/2018 that the student was “Half Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Three Quarter Time” effective
              08/20/2018. FCSL should have reported this student as “Three Quarter Time” when they
              certified the student’s status on 08/27/2018, since the student’s effective date for “Three
              Quarter Time” status was 08/20/2018.
          •   Student #22 – FCSL certified on 08/27/2018 that the student was “Half Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Full Time” effective 08/20/2018.
              FCSL should have reported this student as “Full Time” when they certified the student’s
              status on 08/27/2018, since the student’s effective date for “Full Time” status was
              08/20/2018.
          •   Student #23 – FCSL certified on 08/22/2018 that the student was “Full Time” and
              NSLDS received this submission on 08/22/2018. NSLDS did not receive the next
              submission until 01/04/2019. Therefore, there is 136 days (08/22/2018 to 01/04/2019)
              between submissions, which is 76 days late.
          •   Student #25 – FCSL certified on 08/27/2018 that the student was “Half Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Full Time” effective 08/20/2018.
              FCSL should have reported this student as “Full Time” when they certified the student’s
              status on 08/27/2018, since the student’s effective date for “Full Time” status was
              08/20/2018.
          •   Student #26 – FCSL certified on 08/27/2018 that the student was “Full Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Three Quarter Time” effective
              08/20/2018. FCSL should have reported this student as “Three Quarter Time” when they
              certified the student’s status on 08/27/2018, since the student’s effective date for “Three
              Quarter Time” status was 08/20/2018.


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          •   Student #27 – FCSL certified on 08/27/2018 that the student was “Half Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Full Time” effective 08/20/2018.
              FCSL should have reported this student as “Full Time” when they certified the student’s
              status on 08/27/2018, since the student’s effective date for “Full Time” status was
              08/20/2018.
          •   Student #29 – FCSL certified on 08/27/2018 that the student was “Full Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Three Quarter Time” effective
              08/20/2018. FCSL should have reported this student as “Three Quarter Time” when they
              certified the student’s status on 08/27/2018, since the student’s effective date for “Three
              Quarter Time” status was 08/20/2018.
          •   Student #30 – FCSL certified on 08/27/2018 that the student was “Half Time” and
              NSLDS received this submission on 11/06/2018. However, in FCSL’s subsequent
              NSLDS submission, the student was reported as “Full Time” effective 08/20/2018.
              FCSL should have reported this student as “Full Time” when they certified the student’s
              status on 08/27/2018, since the student’s effective date for “Full Time” status was
              08/20/2018.
          •   Student #31 – FCSL has the student as “Withdrawn” effective 06/18/2018. However,
              according to the institution’s electronic attendance records provided to the Department,
              the student’s last date of attendance was 05/29/2018.

       Required Action:

       FCSL must:
         1. Provide a copy of its updated policies and procedures that will ensure all student status
            reporting are in accordance with the above-mentioned regulations
                a. Provide a marked-up updated copy notating all changes being made as a result of
                    this evaluation

       Finding #7. Inaccurate Disbursement Information Reported to Common Origination and
                   Disbursement (COD) System

       Noncompliance:

       An institution makes a disbursement of Title IV, HEA program funds on the date the institution
       credits a student’s account at the institution or pays a student or parent directly with funds
       received from the Secretary or institutional funds used in advance of receiving Title IV, HEA
       funds. 34 C.F.R. § 668.164(a).

       An institution must establish and maintain, on a current basis, program records that document its
       disbursement and delivery of Title IV program funds and financial records that reflect each Title
       IV program transaction. 34 C.F.R. § 668.24(b)(2). The records that an institution must maintain




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       include but are not limited to documentation relating to each student’s or parent’s receipt of Title
       IV program funds. This documentation includes but is not limited to:

          •     The date and amount of each disbursement or delivery of grant or loan funds;
          •     The amount, date and basis of the institution’s calculation of any refunds or
                overpayments due to or on behalf of the student, or the treatment of Title IV funds when
                a student withdraws;
          •     The payment of any overpayment or the return of any Title IV program funds to the Title
                IV program fund, a lender or the Secretary, as appropriate; and
          •     Records of student accounts, including each student’s institutional charges, cash
                payments, FSA payments, cash disbursements, refunds, returns and overpayments
                required for each enrollment period. 34 C.F.R. § 668.24(c).

       The 2018-2019 COD Technical Reference, Volume II, Section 1, pages 98-99, number 3 states
       that the disbursement date is the date the money was credited to the student’s account or paid to
       the student directly. The disbursement date is not the date of the adjustment transaction.

       There should be one definitive, complete, and accurate record of the charges and payments to
       each student’s account. FCSL is required to report the actual disbursement date for Federal Pell
       Grant and Federal Direct Loan disbursements.

       FCSL did not accurately report disbursement dates to the Common Origination and
       Disbursement (COD) system as required for four reviewed students. The table below identifies
       the errors for these students:

                                                                     COD         Actual
       Student #       Amount       Title IV, HEA Program        Disbursement Disbursement
                                                                     Date         Date
           18        $10,142.00    Direct Unsubsidized Loan       01/18/2019   02/01/2019
           19        $10,142.00    Direct Unsubsidized Loan       01/18/2019   01/25/2019
           19        $24,653.00       Direct PLUS Loan            01/18/2019   02/01/2019
           22        $24,653.00       Direct PLUS Loan            01/18/2019   01/25/2019
           30         $1,283.00       Direct PLUS Loan            03/13/2019   03/25/2019

       Student-borrowers are charged interest on their loans from the disbursement date recorded in the
       COD system. If a disbursement is recorded in COD early, and the Federal Direct Loan funds are
       not delivered to the student until a later date, the student must pay interest on their loans for
       those days in which they did not have use of the funds. As a result, it is imperative the correct
       date be recorded.

       Required Action:

       FCSL must:




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          1. Provide a copy of its updated policies and procedures that will ensure that disbursement
             records for Direct Loan awards are accurately recorded and reported in COD
                 a. Provide a marked-up updated copy notating all changes being made as a result of
                     this evaluation
          2. Correct the errors noted above
                 a. Provide documentation that all misreported disbursement dates have been corrected

       Instructions for repayment of liabilities, if any, will be provided in the FPRD. FCSL must not
       attempt to repay any funds owed to the Department until the FPRD is issued. Hard copy and
       electronic files containing PII must be safeguarded as described in the enclosure to the cover
       letter of this report.

       Finding #8. Record Retention

       Noncompliance:

       Per 34 C.F.R. § 668.14(b)(4), Participating institutions must establish and maintain
       administrative and fiscal procedures and records as may be necessary to ensure proper and
       efficient administration of funds received from the Secretary or from students under the Title IV
       programs.

       Per 34 C.F.R. § 668.16, General Provisions, state that to begin and to continue to participate in
       any Title IV, HEA program, an institution shall demonstrate to the Secretary that the institution
       is capable of adequately administering that program under each of the standards established in
       this section. The Secretary considers an institution to have that administrative capability if the
       institution administers the Title IV, HEA programs in accordance with all statutory provisions of
       or applicable to Title IV of the HEA, all applicable regulatory provisions prescribed under that
       statutory authority, and all applicable special arrangements, agreements, and limitations entered
       into under the authority of statutes applicable to Title IV of the HEA.

       An institution shall establish and maintain, on a current basis, any application for Title IV, HEA
       program funds and program records that document its disbursement and delivery of Title IV, HEA
       program funds. The records that an institution must maintain include but are not limited to
       documentation relating to each student's or parent borrower's eligibility of Title IV, HEA program
       funds, including but not limited to documentation of the amount of the grant, loan, or FWS award;
       its payment period; its loan period, if appropriate; and the calculations used to determine the amount
       of the grant, loan, or FWS award, the date and amount of each disbursement or delivery of grant or
       loan funds, and the date and amount of each payment of FWS wages, the amount, date, and basis of
       the institution's calculation of any refunds or overpayments due to or on behalf of the student, or the
       treatment of Title IV, HEA program funds when a student withdraws; and the payment of any
       overpayment or the return of any Title IV, HEA program funds to the Title IV, HEA program fund,
       a lender, or the Secretary, as appropriate. 34 C.F.R. § 668.24(a)(6) and (c)(1)(iii-iv).




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       An institution shall establish and maintain reports and forms used by the institution in its
       participation in a Title IV, HEA program, and any records needed to verify data that appear in those
       reports and forms. 34 C.F.R. § 668.24(c)(vi).

       An institution shall maintain required records in a systemically organized manner. 34 C.F.R. §
       668.24(d)(1).

       All record information must be retrievable in a coherent hard copy format or in other media
       formats acceptable to the Secretary. 34 C.F.R. § 668.24(d)(3)(i).

       An institution shall keep all other records relating to its participation in the FFEL or Direct Loan
       Program, including records of any other reports or forms, for three years after the end of the
       award year in which the records are submitted. 34 C.F.R. § 668.24(e)(2)(i).

       A school may maintain a record in an imaged media format only if the format is capable of
       reproducing an accurate, legible, and complete copy of the original document. See 2018-19
       Federal Student Aid Handbook, Volume 2, Chapter 7, page 191.

       FCSL is an institution that is required to take attendance by their accreditor and provided the
       Department with a document entitled “FCSL Attendance Process.” In this document, FCSL
       explains how attendance is taken and entered, see below for details.

            •    “Faculty and/or their faculty assistants are responsible for taking and entering
                 attendance.
                Step 1- The Faculty member or their or their Faculty Assistant print off the course roster
                from the faculty portal for each class meeting.
                Step 2- The Faculty member takes attendance on the roster sheet in class. They may
                  take attendance on their own or pass around the roster sheet.
                Step 3- After the class, the Faculty member or their Faculty Assistant update attendance
                in the faculty portal. (Database should be defaulting to all present. The student who is
                absent is recorded as being absent for that class meeting period.)
                           a. Attendance will be entered for each day of add/drop and then once a week
                              thereafter”

       The Department conducted an interview on 08/12/2019 where both the Senior Director of
       Financial Aid and Registrar, and Academic Dean and Professor were present. In this interview,
       the Department asked for additional information relating to FCSL’s attendance policies and
       procedures. FCSL discussed that the method for taking and tracking attendance is done
       manually through a roster, and the information is later transferred to the faculty portal, which is
       then imported into FCSL’s student information system.

       Additionally, the Department asked FCSL how attendance records are maintained. FCSL said
       they were maintained electronically. When the Department asked how FCSL maintained the
       original source attendance document (physical sign-in/roster), FCSL was unable to provide the



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       Department with an answer that demonstrated a systemically organized method for storing the
       attendance records that would allow for this information to be retrievable in a coherent format,
       physical or electronic copies of the original. Additionally, FCSL did not have an established
       record retention policy for the attendance records to be kept for three years after the end of the
       award year in which the records are submitted.

       This was demonstrated when the Department asked for the original attendance records relating to
       all classes taken during the term a student had a return of Title IV funds calculation performed.
       FCSL was unable to provide the original attendance records and responded to the Department’s
       request with:

            •   “CampusVue is our ‘system of record’ for student attendance,” “Not all faculty use sign
                in sheets and/or keep them, although it is preferred,” “they simply enter attendance
                directly into CVue and/or their faculty assistant does,” and “In many cases, all we have
                is what is in CVue.”

       This directly contradicts the “FCSL Attendance Process” document provided to the Department,
       along with the answers FCSL provided during the onsite interview. FCSL must maintain source
       documentation (sign-in sheets, attendance logs, etc.) to validate grades, attendance, and Title IV
       entered into computer systems or other summary formats. FCSL failed to do so.

       Required Action:

       FCSL must:
         1. Update its policies and procedures to ensure that attendance is supported and accurate.
            The revised policies and procedures must ensure that electronic attendance records in
            CampusVue are supported by sign-in sheets
                a. Provide a copy of these updated policies and procedures in response to this
                    program review report
         2. Maintain source documentation (sign-in sheets, attendance logs, etc.) to validate grades,
            attendance, and Title IV entered into computer systems or other summary formats per the
            record retention requirements described in 34 C.F.R. § 668.24. Attendance records are
            required to establish academic payment periods, establish whether or not a student is
            meeting an institution’s Satisfactory Academic Progress (SAP) standards, determine if a
            student began attendance in a class, to build enrollment status for the term, and/or to
            establish the last date of attendance for a student who withdraws or stops attending, along
            with performing a return of Title IV funds calculation. Therefore, FCSL is required to
            update its policies and procedures to ensure that Title IV source documentation is
            retained for the length of time outlined in regulation
                a. FCSL must provide a copy of these updated policies and procedures, outlining
                    how the policies and procedures have changed to ensure proper retention




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       Finding #9. Return of Title IV Funds Policy Inadequate

       Noncompliance:

       An institution must make readily available to all enrolled and prospective students any refund
       policies that it utilizes or that it is required to comply with for the return of unearned Title IV
       assistance. 34 C.F.R. §668.43(a)(2).

       Additionally, an institution must also make readily available to all prospective and current
       students a summary of the requirements stipulated under 34 C.F.R. 668.22 for the return of Title
       IV grant or loan assistance. 34 C.F.R. §668.43(a)(4).

       The Return of Title IV Funds (R2T4) consumer information provided by FCSL does not fully
       summarize the requirements of the federal R2T4 calculation as stipulated under 34 C.F.R.
       668.22. Specifically, FCSL’s R2T4 policy did not contain:

            •   The conditions under which a student would be owed a disbursement of Title IV
                program funds upon withdrawal from the institution.

       Required Action:

       FCSL must:
         1. Develop consumer information that summarizes the requirements stipulated under 34
            C.F.R. 668.22 for R2T4 calculations. This information must be published and be made
            readily available to all current and prospective students.
                a. Provide a copy of the updated policy and procedures and an explanation of how
                    the information is readily available

       Finding #10. Crime Awareness Requirements Not Met

       Noncompliance:

       The Jeanne Clery Disclosure of Campus Security Policy and Campus Crime Statistics Act (Clery
       Act) and the Department’s regulations require that all institutions that receive Title IV program
       funds must, by October 1 of each year, publish and distribute to its current students and
       employees through appropriate publications and mailing, a comprehensive Annual Security
       Report (ASR) that contains, at a minimum, all of the statistical and policy elements enumerated
       in 34 C.F.R. § 668.46(b).

       The ASR must be prepared and actively distributed as a single document. Acceptable means of
       distribution include U.S. Mail, campus mail, hand delivery, or by posting the ASR on the
       institution’s website. If an institution chooses to distribute its report by posting to an internet or
       intranet site, the institution must, by October 1 of each year, distribute a notice to all students and
       employees a statement of the report’s availability and a link to its exact electronic address, a



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       description of its contents, as well as an advisement that a paper copy will be provided upon
       request. 34 C.F.R. § 668.41(e)(1). The regulations also require institutions to provide a notice
       containing this information to all prospective students and employees. This notice must also
       inform interested parties about how to obtain a paper copy of the ASR.
       34 C.F.R. § 668.41(e)(4).

       An ASR must include statistics for incidents of crimes reported during the three most recent
       calendar years. The covered categories include criminal homicide (murder and non-negligent
       manslaughter), sex offenses (rape, fondling, incest and statutory rape), robbery, aggravated
       assault, burglary, motor vehicle theft, and arson. In addition, an institution’s ASR must identify
       if any of the aforementioned crimes are hate crimes by category of bias (larceny-theft, simple
       assault, intimidation and destruction/damage/vandalism of property crimes are included in the
       ASR only if they are hate crimes). An institution’s ASR must also contain statistics for dating
       violence, domestic violence and stalking, as well as arrest and disciplinary referral statistics for
       violations of certain laws pertaining to illegal drugs, illegal usage of controlled substances,
       liquor, and weapons. Furthermore, an institution’s ASR must indicate if a crime was
       “unfounded” and subsequently withheld from a crime statistic category. The statistics must be
       published for the following geographical categories: 1) on campus; 2) on-campus student
       residential facilities (as a subset of category # 1); 3) certain non-campus buildings and property;
       and 4) certain adjacent and accessible public property. 34 C.F.R. § 668.46(c).

       An ASR must also include several policy statements. These disclosures are intended to inform
       the campus community about the institution’s security policies, procedures, and the availability
       of programs and resources as well as channels for victims of crime to seek recourse. In general,
       these policies include topics such as the law enforcement authority and practices of campus
       police and security forces, incident reporting procedures for students and employees, and policies
       that govern the preparation of the report itself. Institutions are also required to disclose alcohol
       and drug policies and educational programs. Policies pertaining to sexual assault education,
       prevention, and adjudication (including procedures for institutional disciplinary action in cases of
       alleged dating violence, domestic violence, sexual assault, or stalking) must also be disclosed.

       An institution must provide detailed policies of the issuance of timely warnings and emergency
       notifications as well as its emergency response and evacuation procedures. All required
       information referenced in 34 C.F.R. § 668.46(b) must be published in the ASR. With the
       exception of certain drug and alcohol program information, cross-referencing to other
       publications is not sufficient to meet the publication and distribution requirements of the Clery
       Act. 34 C.F.R. § 668.46(b).

       Finally, each institution must also submit its crime statistics to the Department for inclusion in
       the Department’s Campus Safety and Security (CSS) website. 34 C.F.R. § 668.41(e)(5).

       FCSL failed to prepare, publish, and distribute an accurate and complete 2018 ASR to all current
       and prospective students, faculty, and staff. Specifically, FCSL’s 2018 ASR did not include the
       following required policy statements:



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           •    Describe procedures, if any, that encourage pastoral counselors and professional
                counselors, if and when they deem it appropriate, to inform the persons they are
                counseling of any procedures to report crimes on a voluntary, confidential basis for
                inclusion in the annual disclosure of crime statistics. 34 C.F.R. § 668.46(b)(4)(iv);
           •    A statement of policy concerning the monitoring and recording through local police
                agencies of criminal activity by students engaged at off-campus locations of student
                organizations officially recognized by the institution, including student organizations
                with off-campus housing facilities. 34 C.F.R. § 668.46(b)(7);
           •    A list of all of the possible sanctions that the institution may impose following the
                results of any institutional disciplinary proceeding for an allegation of dating violence,
                sexual assault, or stalking. 34 C.F.R. § 668.46(k)(1)(iii);
           •    Provide that proceedings will require simultaneous notification, in writing, to both the
                accuser and accused, of
                    o the result of any institutional disciplinary proceedings that arises from an
                        allegation of domestic violence, dating violence, sexual assault, or stalking;
                    o the institution’s procedures for the accused and the victim to appeal the results of
                        the institutional disciplinary proceedings; if such procedures are available;
                    o simultaneous notification, in writing to both the accuser and the accused of any
                        change to the result; and
                    o simultaneous notification, in writing to both the accuser and the accused when
                        such results become final. 34 C.F.R. § 668.46(k)(2)(v).

       Required Action:

       FCSL must take all necessary corrective actions to resolve these violations. At a minimum, the
       institution must perform the following:

          1. FCSL must review and revise its existing internal policies and procedures that govern the
             preparation, publication, and distribution of its ASRs, and develop and implement any
             new policies and procedures as needed to ensure that all subsequent ASRs are accurate
             and complete.
          2. An accurate and complete 2018 ASR must then be prepared, published, and distributed to
             the campus community. A copy of the revised 2018 ASR and original 2018 ASR must
             be sent with the institution’s official response to the program review report.
          3. The Department must also receive documentation evidencing the distribution of the
             updated 2018 ASR with FCSL’s response, as well as a certification statement attesting to
             the fact that the materials were provided in accordance with the Clery Act. The
             certification must also affirm that the institution understands its Clery Act obligations and
             that all necessary corrective actions were taken to ensure that these violations do not
             recur.

               The Department will evaluate FCSL’s 2018 ASR for accuracy and completeness. If any
               changes are needed, the institution will be required to actively distribute an updated




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              report to all current and potential students, faculty, and staff in accordance with 34 C.F.R.
              § 668.41(e).

       As noted above, the exceptions identified in this finding constitute serious violations of the Clery
       Act that by their nature cannot be cured. There is no way to truly “correct” a violation of this
       type once it occurs. FCSL will be given an opportunity to address all of the weaknesses in its
       Clery Act compliance program and in so doing, will begin to bring its overall campus security
       program into compliance with the Clery Act as required by its Program Participation Agreement
       (PPA). However, please be advised that these remedial measures cannot and do not diminish the
       seriousness of these violations, nor do they eliminate the possibility that the Department will
       impose an adverse administrative action and/or require additional corrective measures.

       Based on an evaluation of all available information including FCSL’s response, the Department
       will determine if additional actions are required to address this finding. The Department will
       advise the institution accordingly in its FPRD letter.

       FCSL officials may wish to refer to the Department’s “Handbook for Campus Safety and
       Security Reporting” (2016 Edition) during the preparation of its response. The Handbook is
       available online at: http://www2.ed.gov/admins/lead/safety/handbook.pdf. The regulations
       governing the Clery Act can be found at 34 C.F.R. §§ 668.14, 668.41, 668.46, and 668.49.

       Finding #11. Drug and Alcohol Abuse Prevention Program (DAAPP) Requirements Not
                    Met

       Noncompliance:

       The Drug-Free Schools and Communities Act (DFSCA) and Part 86 of the Department’s
       General Administrative Regulations require each institution of higher education (IHE) to certify
       that it has developed and implemented a drug and alcohol abuse prevention program (DAAPP).
       The program must be designed to prevent the unlawful possession, use, and distribution of drugs
       and alcohol on campus and at recognized events and activities.

       On an annual basis, each IHE must provide the following information in writing to all current
       students (enrolled for any type of academic credit except for continuing education units) and all
       current employees:

          1. A written statement about its standards of conduct that prohibits the unlawful possession,
             use, or distribution of illicit drugs and alcohol by students and employees;
          2. A written description of legal sanctions imposed under Federal, state, and local laws for
             unlawful possession or distribution of illicit drugs and alcohol;
          3. A description of the health risks associated with the use of illicit drugs and the abuse of
             alcohol;
          4. A description of any drug or alcohol counseling, treatment, or rehabilitation or re-entry
             programs that are available to students and employees; and



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          5. A statement that the IHE will impose disciplinary sanctions on students and employees
             for violations of the institution’s codes of conduct and a description of such sanctions.

       The distribution plan must make provisions for providing the DAAPP disclosure annually to
       students who enroll at a date after the initial distribution and for employees who are hired at
       different points throughout the year.

       In addition, each IHE must conduct a biennial review to determine the effectiveness of its
       DAAPP and to ensure consistent enforcement of applicable drug and alcohol-related statutes,
       ordinances, and institutional policies against students and employees found to be in violation.
       All biennial review materials (referred to as “the biennial review report”) must be organized and
       maintained by the IHE and made available to the Department upon request. 34 C.F.R. §§ 86.3
       and 86.100.

       FCSL violated a provision of the DFSCA and the Department’s Part 86 regulations and failed to
       develop and implement a comprehensive DAAPP. Specifically missing from FCSL’s DAAPP
       was:
          • A statement that it will impose disciplinary sanctions on students and employees. FCSL
              directs students to the “Student Code of Conduct”; however, FCSL does not list, or
              provide a link to, sanctions for direct employees or staff.

       Failure to comply with the DFSCA’s DAAPP requirements deprives students and employees of
       important information regarding the educational, disciplinary, health, and legal consequences of
       illegal drug use and alcohol abuse. Such failures may contribute to increased drug and alcohol
       abuse as well as an increase in drug and alcohol-related violent crime.

       Required Action:

       FCSL must take all necessary corrective actions to resolve these violations. At a minimum, the
       institution must perform the following:

          1. Develop and implement a comprehensive DAAPP that includes all of the required
             elements found in the DFSCA and the Department’s Part 86 regulations; and
          2. Redistribute the most recent DAAAPP in accordance with the Part 86 regulations and
             provide documentation evidencing the distribution, along with a statement of certification
             attesting to the fact that the materials were provided in accordance with the DFSCA.
             This certification must also affirm that the institution understands all of its DFSCA
             obligations and that it has taken all necessary corrective actions to ensure that these
             violations do not recur.

       As noted above, the exceptions identified in this finding constitute serious violations of the
       DFSCA that by their nature cannot be cured. There is no way to truly “correct” a violation of
       this type once it occurs. FCSL will be given an opportunity to develop and distribute an accurate
       and complete DAAPP disclosure and to finally begin to bring its drug and alcohol programs into



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       compliance with the DFSCA as required by its PPA. However, the institution is advised that
       these remedial measures cannot and do not diminish the seriousness of these violations nor do
       they eliminate the possibility that the Department will impose an adverse administrative action
       and/or require additional corrective measures.

       Based on an evaluation of all available information including FCSL’s response, the Department
       will determine if additional actions are required and will advise the institution accordingly in its
       FPRD letter.

       D. Appendices

       Appendix A (Student Sample) contains personally identifiable information and will be emailed
       to FCSL as an encrypted WinZip file using Advanced Encryption Standard, 256-bit. The
       password needed to open the encrypted WinZip file(s) will be sent in a separate email.




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PROTECTION OF PERSONALLY IDENTIFIABLE INFORMATION

Personally Identifiable Information (PII) being submitted to the Department must be
protected. PII is any information about an individual which can be used to distinguish or
trace an individual's identity (some examples are name, social security number, date and
place of birth).

PII being submitted electronically must be encrypted. The data must be submitted in a
.zip file encrypted with Advanced Encryption Standard (AES) encryption (256-bit is
preferred). The Department uses WinZip, however, files created with other encryption
software are also acceptable, provided that they are compatible with WinZip (Version
9.0) and are encrypted with AES encryption. Zipped files using Win Zip must be saved as
Legacy compression (Zip 2.0 compatible).

The Department must receive an access password to view the encrypted information. The
password must be e-mailed separately from the encrypted data. The password must be 12
characters in length and use three of the following: upper case letter, lower case letter,
number, special character. A manifest must be included with the e-mail that lists the types
of files being sent (a copy of the manifest must be retained by the sender).

Hard copy and electronic files containing PII must be:

    • sent via a shipping method that can be tracked with signature required upon
      delivery
    • double packaged in packaging that is approved by the shipping agent (FedEx,
      DHL, UPS, USPS)
    • labeled with both the "To" and "From" addresses on both the inner and outer
      packages
    • identified by a manifest included in the inner package that lists the types of files
      in the shipment (a copy of the manifest must be retained by the sender).

               PII data cannot be sent via fax.




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